Case 2:08-Md-0169 7@GF-DEK Document 1978-1 Filed eo” Page 1 of 42

U.S. DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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UNTIED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISTAND M Die leS*7

IN RE: VIOXX LITIGATION: MDL DOCKET

NO. 1657 ’ 0OS~YUOUL

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Coordination Proceeding: CASE NO. weep
Special Title : GCCP NO. 4247
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Four Penn Center - Suite 1?
160 John F. Kennedy Bouleva
Philadelphia, Pennsylvania 13
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Page 2 Pace 4
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Page 130 Fage 20
DEPOSITION SUPPORT INDEX 1 hours of actual tape running time,
2 We will attempt to finish sooner,
Direction to Wimess Not To Answer / 3 if we can. Something tells me
Page Line Page Line i 4 that won't happen.
(None) 5 There's going to be time
: 6 kept on the record as to the
7 actual running time, which will
Request For Production of Documents a paboclidetime taken for
Page Line Page Line 1 9 objections or time off of the
(None) 10 record.
iL1 I've also advised Mr.
(12 Goldman that I'm going to reserve
Stipulations 13 an hour. So, I'm going to do
Page Line Page Line i 14 three hours, hopefully I'll get
(None} /15 through everything, and then we'll
“16 do an hour -- or we'll do his
17 exammation, [ll come back and do
18 redirect, and then he will do
Page Line Pate Line (19 limited recross, if needed, to the
“o0U0UCOC™~S~*S _20 areas that examime. He and I
20 21 have agreed that we will limit our
et “22 redirect and our recross very
Za Ly :
33 (23 specifically to the rules of
24 0 oe 24 evidence as youwoulddoa

At
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redirect and a recross, rather
MR. GOLDMAN: Merck objects

than open Up new areas.

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to the use of Dr. Topol's
deposition in the upcoming
Plunkett trial because, among
other things, Dr. Topol has not
been designated as an expert
witness and has not submitted an
expert report, and I expect that
much of Dr. Topol's testimony
today will be in the form of
opinion testimony.

In Plunkett, also the
deposition designations and
exhibit lists have already been
submitted, and the trial starts in
six days.

MR. KLINE: Before we go on
the video, we have a loose
understanding worked out between
myself and Mr. Goldman that I will
exantune for three hours, he will
then -- we split the time
four‘three, four hours and ihree

~] Om ul mm oF bo iV

BH ee oe Re
Is Woe OW OM anu bis me wo

MB ho oh Bo RoR}

] think that's our basic
understanding, and we've agreed to
atlerpt to agree on as nnich as
possible today.

We've also agreed that we'll
go off the video record for any
objections. So, if there's an
objection, we'll go off the record
if there's something to be added
other than the word "objection."
Is that fair enough?

MR. GOLDMAN: Well, if1
state the basis for some of the
objections, you don't expect to go
off the record for those. So, for
example, if I say “objection,
opinion testimony" --

MR. KLEINE: No.

MR. GOLDMAN: Okay.

MR. KLINE: That's fine.
But if you have some longer
objection, then go. It is ether

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Page 22. Page 24
1 objection, two or three words or 1 counsel.
2 objection, off the record. And - 2 MR. BALEFSKY: Lee Balefsky,
3 I'll do the same if there's : 3 Kline & Specter.
4 something longer to be said. . 4 MR. HENDERSON: Jay
5 MR. GOLDMAN: Fair enough. 2 5 Henderson, Houston, Texas,
6 MR. KLINE: Thomas R. Kline 6 pursuant to an agreement with
7 for plaintiffs. This deposition 7 Merck for some Texas physi sicians.
o Is heme, ToerT PHS ro ee he " = he einer eis is
9 federal | litigation pending in the _ 9 provided you the notice That was
10 MDL. 10 served. Can we have that entered
11 I'm here with Lisa 21 as part of the record, our
12 Dagostino, M.D., J.D., and she °12 California state notice?
13 will be assisting me, 13 THE COURT REPORTER: Yes.
14 MR. BUCHANAN: Dave -14 THE VIDEOTAPE TECHNICIAN:
15 Buchanan, Seeger Weiss, also for 15 We're on the video record. The
16 plaintiffs in the MDL litigation. :36 time is 9:41. The date is
17 MR. STEIN: I'm Steve Stein. [17 November 22, 2005,
18 I'm here for the California :18 This is the videotape
ig plaintiffs in the state 19 deposition of Eric Topol, M.D. in
20 proceedings, state coordination /20 the matter of In Re: Vioxx
1 proceeding, which has been 21 Products Liability Litigation in
22 cross-noticed -- which was :22 the U.S. District Court, Eastern
23 cross-noticed for this deposition. 23 Division, District of Louisiana,
24 ___My understanding from Jim Z4 _ MDL Number 1657.
Hace 23 Page <5
1 O'Callahan, liaison counsel, is 4 The court reporter, would
2 that Merck also cross-noticed it 2 you please swear in the witness.
3 in the California state 2 a>
4 proceeding, So, we're here for 4 ERIC J. TOPOL, M.D., after
5 the California state plaintiffs in 5 having been duly sworn, was
6 the JCCC coordination. 6 examined and testified as follows:
7 Steve Stein, Levin Simes & 7 ---
8 Kaiser, San Francisco, California. 8 EXAMINATION
9 MR. LEVENSTEN: Sccit S ~ +>
1G Levensten, The Beasley Firm, . 1 a SE aber eA ; *
12 Philadelphia, i Q. Dr. Topol, good moming. } N/
12 MR. GOLDMAN: My name is y Nice to meet you, sir. G
ig Andy Geldman. I represent Merck. i SA QEE SOG RS foe pecans
14 MR. PIORKOWSKI: Joseph 4 T have four hours, three of
15 Piorkowski, I represent Merck. 15 which I'm going to take to do your direct
16 MR. FITZPATRICK: Jim 16 examination. [have a lot of material to
i7 Fitzpatrick, I represent Merck. 1? cover with you, so, ] want to be very
18 MR. HAMELINE: My name is i8 direct and hopefully elicit your
is Joseph Hameline. I'm with the law 2 testimony, but want to keep moving to
20 firm of Mintz Levin, and I'm here 20 accomplish that.
21 on behalf of Dr. Topol. 24 Are you prepared to do that
22 MS. VANCE: Vicki Vance, 22 with me, sir?
23 in-house counsel at the Cleveland 23 A. Yes.
23 Clinic Foundation, associate Za QO. Okay, good.

K N/o, Wea {hie mo, means “vio
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obec on”

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Page 26 : Page
i And if you'd speak up just a i 1 cardiovascular medicine since 1991, and
2 little bit, I think that would be : 2 this is a large department, one of the
3 helpful. ; 3 largest departments in cardiovascular
4 A. Certainly. ' 4 medicine in the country.
5 Q. Thatwouldbe good. > 7S Q. My understanding, sir, that
os ees «=| «6s this -- and you are a cardiologist; is
¥ the highlights of your ; 7 that correct?
oS Dackpromna. a sealable
g You have a curriculum vitae. ; 9 Q. Trained as a cardiologist;
10 I'm marking it as Exhibit 1 for this :10 correct?
11 deposition. /1l A. That's exactly right.
2 --+- /12 Q. You did your undergraduate
3 (Whereupon, Deposition :13 degree at the University of Virgimia,
4 Exhibit Topal-1, Curriculum Vitae 14 your medical school at the University of
5 Eric Jeffrey Topol, M.D., TOPOLE ‘15 Rochester, a residency at the University
6 0000001 - TOPOLE 0000127, was /16 of California, San Francisco, a
7 marked for -17 fellowship at Johns Hopkins in
8 identification. ) :18 cardiology, and then you became Board
--- 19 Certified in intemai medicine and in
BY MR. KLINE: 20 cardiology. All correct?
Q. The version that I have is (21 A. That's all correct.
what I understand to be an abridged "22 Q. And then you practiced
version of 127 pages. Suffice it to say, ‘23 medicine and eventually worked yourself
qi you havea very substantial cuviculum  ===———s/§ 24_—suup to become the top person in the -
j Page 27 rage
2 vitae outlining your background and 1 department of cardiovascular medicine at
2 experience; correct? 2 the Cleveland Clinic; correct?
3 A. Yes. 3 MR. GOLDMAN: Object to
4 Q@. You are -- what is your 4 form.
5 current position, sir? 5 THE WITNESS: That's
6 A. I'm Provost of the Cleveland 6 correct, yes. As of 1991, I came
(7 Clmic Lemer College of Medicine, Chief 7 to Cleveland Clinic.
8 Academuc Officer of the Cleveland Clinic, 8 BY MR. KLINE:
3 and also the chairman of the Department _ 9 Q. And when did you become
& of Cardiovascular Medicine of the (10 chairman of the department of
1 Cleveland Clinic. 11. cardiovascular medicine?
2 Q. Take them one at a time. 12 A. On omy arrival.
Identify each one of those positions, and “13 Q. Oh, right on your arrival?
tell me very briefly what they entail. “14 A. Yes. That was why I was
A. The Provost of the medical 15 recruited here.
college is providing the oversight of 16 Q. Where were you previously?
(? this college of medicine, which had its 17 A. University of Michigan,
8 beginning just three years ago, and it's 18 where [ directed the cardiocatherization
EO part of Case Western Reserve University. 19 laboratory, and I was a professor of
PaO The chief academic officer 20 medicine there.
21 responsibility is responsible for all 21 Q. And you've spent your entire
22 research and education here at this 22 career as a practicing cardiologist, sir?
22 academic medical center, and I've been 23 A. Yes. I continue to practice
4 chairman of the department of 24 cardiology with patients.

won

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ti/o

Page 30 _ Page 3

y 1 Q. And how many years have you i that correct, sir?
2 been a cardiologist? 2 A. I think the patents have
a3 A, 20 years. 3 been applied for. I'm not -- yes, yes.
5 4 Q. You also -- it mentioned 4 Q. Now, in addition, you are on
E5 that you're the Provost of the Cleveland 5 the editorial board of a number of
£6 Clinic, and that involves overseeing the 6 peer-review journals; is that correct?
47 entire medical college? : 7 A. Yes.
a = cesrincht —s aiiethdpermenpleinthen?
49 founded with Case Western Reserve : 9 Well, let me tick them off. I think it
4.0 University back in 2001. / 10 could be done more quickly,
1 1 Q. In addition -- oh, andi :24 Circulation, JACC, American
Fi? might add, the Cleveland Clinic, sir, -12 College -- American Journal of
qi3 give us a sentence or two on what is the -13 Cardiology, American Joumal of Medicine,
414 Cleveland Clinic, especially in heart .14 among others; is that correct’?
15 medicine. /45 A. That's right.
16 A. Well, in the field of heart “46 Q. And what does that involve,
17 medicine, it's been ranked by the U.S. :17 sir, very briefly?
1&8 News & World Report as the number one ‘28 A. Well, that means being a
19 center for the last 11 years _29 peer reviewer for manuscripts, work,
#,/20 consecutively. :20Q research that's bemg conducted
2(21 @. You have been a clinical 21 elsewhere, and to provide reviews and
#|22 investigator on many clinical studies: is 22 input and at times editorials, to help
@( 23 that correct? 22 advance the field insofar as biomedical
e124 0 AL That's right. 0 24 research and literature. .
z Frage 3i Pegs
Q. Tellus about it briefly, a i GQ You have been an
few sentences. 2 investigator, according to your vitae, on
A. Well, I've chaired a number 3 many NIH projects, National Institutes of
of clinical trials over the past 20 4 Health. Briefly, a few sentences, tell
years. The most widely known are the 5 us about that,
so-called GUSTO trials of heart attack. 6 MR. GOLDMAN: Objection to
< 7 All these trials had something to do with 7 fom.
heart attack prevention or better 8 THE WITNESS: Well, the main
treatment. 9 one is at a specialized center of
The cumulative 200,000 10 clinically-oriented research,
patients were enrolled, the largest heart il which is the flagship grant of the
attack frials ever performed in the “12 NIH, which I was awarded a year
United States, coordinated. I've been (13 ago. It's a five-year grant for
Bé  the chair of all of those trials. i4 nearly $18 million to support our
E> They've been multinational trials, LS work in genetics and genomics of
£6 involving 40 different countries around 16 coronary artery disease and heart
1 the world, and these trials have had, I 17 attack, and that's been the main
14 think, a substantial impact on clinical “22 research interest that I've had
18 practice in the field of cardiology and is over the past five years, has been
2Q for patients. 29 in the genetics and genomics of
2u MR. GOLDMAN: Move to sirike 22 heart attack.
2 ae as nonresponsive, 22 BY MR. KLINE:
23; BY MR. KLINE: 23 Q. You've Geen a manuseripe
Zae QQ. You hold two patents: is Z2< reviewer for a number of journals, peer

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Nip

Page 34: Page

¢ 1 review, including Nature, Science, the 1 Q. And these all deal in the
2 New England Journal of Medicine, JAMA, 2 field of cardiology, sir?
3 Lancet and many other prestigious : 3 A. Virtually all are cardiology
4 journals; correct? : 4 pieces of work, yes.
5 MR. GOLDMAN: Object to 7 5 Q. And there was a recent
6 form. 6 article, and I'd like you to tell me if
7 THE WITNESS: Yes. ' 7 this is correct, it sort of pulls some
3 BY MRT REINE” = ‘HITS foe: STP or rte
g Q. Ihave by count, and I'm . 9 Associated Press which says, "One medical
doing all of this, I might say, just to -10 journal index service ranked Topol as the
save time, to get through all of this, 2:11 eighth most cited medical researcher
you have by my count, 909 original -12 among its index publications in the past
publications in the scientific /13 > ten years with his 498 papers cited by
literature. Does that sound about right? -14 colleagues, 21,050 times.”
A. That's about right. -15 Is that about correct?
Q. You have 36 collaborative 1 MR. GOLDMAN: Object to
group~authored papers, meaning papers (17 form.
where a group is mentioned, not you, but ‘18 THE WITNESS: That's
you really were a major contributor. Is “19 correct. The FSi ranks medical
that also correct? ‘20 researchers, and in the last ten
MR. GOLDMAN: Object to 21 years, I'm ranked number eight of
form. ‘22 the most widely cited medical
THE WITNESS: That's 23 researchers in the world. So,
wa COT vnmeean 24 that's correct.
Page 35 Pag?
BY MR. KLINE: BY MR. KLINE:
Q. You are -- you have 39 Q. Let me ask it in a different
riicles submitted for publication at the way just to be sure.
time that the curriculum vitae you handed How does the -- what is the

us was. In other words, these are not
even yet pubhshed, they're in the mill;
is that correct?
MR. GOLDMAN: Object to
form.
THE WITNESS: Yes.
BY MR. KLINE:
Q. Again, by my count, an

IST, and how does it rank you as someone
who is cited by others in the medical
field?

A. That means that if you
publish a paper and that paper is cited
by others, that's the cumulative tally of
citations of your impact in the medical
literature, in the medical community, and

author or co-author on 30 books? so that 15 the most highly regarded
MR. GOLDMAN: Objection to authority for collaiing that data. And
the form. in the ten-year cumulative tally, as vou
THE WITNESS: That's mentioned, somewhere around 500
correct.

manuscripts were published, and that was

fet ft fet pak fed pk
BW NY OW OIA Bowe Oe OA oe lh be

ole

form.

+ Ml

@ BY MR. KLINE: 18 the eighth leading, i believe, citation #
ao Q. 164 book chapters? 19 tally in the rankings. a
0 MR. GOLDMAN: Same 2 Q. Are you, sir, with this g
1 objection. 21 background, an expert in the field of a

2 THE WITNESS: That's 22 cardiovascular medicine? 4
3 correct. 2 MR. GOLDMAN: Object to the 4

? e

BY MR. KLINE:

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i

Nig

Page 33°

Fage 40
1 THE WITNESS: I believe I i 1 Off the record at 9:52.
2 am, Yes. 2 MR. KLINE: The only thing I
3 BY MR. KLINE: . 3 would ask is so we can have the
4 Q. Isee here your either i 4 ground rules from the beginning,
> notepad or a prescription pad says "The 1 5 if we're going to go off the
6 Cleveland Clinic Foundation, A National 6 record, let's go aff the record.
7 Referral Center and International Health 7 If we're going to just state
So Resotrce at Shyectenee-esd-cmicetlien
9 Is that a correct : 9 let's do it that way per our
description? :10 agreement. Is that fair.
A. Yes, it's correct, /11 MR. GOLDMAN: Sure.
Q. And it says, “Eric Topol, ‘12 MR. KLINE: Okay.
M.D., Provost and Chief Academic Officer, ‘13 | appreciate it.
Chairman, Department of Cardiovascular ‘14 THE VIDEOTAPE TECHNICIAN:
15 Medicine," listing your address. Is that 715 Back on the record at 9:52.
i& acorrect description of your title at / LE cD ed

17 this institution?

18 A. Yes.

19 Q. Sir, at some point in time

20 you became interested in the drug Vioxx;
21 is that correct?

22 A. Yes.

23 Q. And that w vould have been

which you reached, were -e they formed
within the scope and context of your
practice of cardiology, as well as your
Interest as a researcher and in your
responsibilities to patients and to this
institution?
AL Yes.

aes

MR. GOLDMAN: Object to the
form, calls for expert testimony.

MR. KLINE: Let's go off the
record again.

THE VIDEOTAPE TECHNICIAN:
Off the record at 9:53.

MR. KLINE: I'm just trying
to figure out a shorthand way to
handle it.

A. Well, it was February 2001.
Q. Okay.

Now, I want to fast forward
before going to February 2001, which I'll
go back.

Between February 2001 and
today, sitting here today, which is
Novernber --

MS. VANCE: 22.

ow Om Ww be

BY MR. KLINE: “4 MR. GOLDMAN: It was just a
11 Q.  -- 22nd of 2005, have you 1 few words.
12 expressed certain opinions publicly and ‘] MR. KLINE: But if that's
13 in the academic literature, as well as “a going to be the objection all of
i4 privately in e-mails and writings, 1 the time, why don't you say
15 relating to your beliefs and opinions 1 objection, expert testimony, and

WNP Sip Oa Ones PoWM OA moe woh te

16 regarding the drug Vioxx? “i then I'll know what it is, and any
17 A. Yes, certain os 1 judge who reads it will know what
= ER PBRTEN Ob om Re oo

oh Lp gceee RE ET R GOLD “Oo yeciion, 1 it is, and that way I don't have
19 calls for expert testimony, and 1 to constantly hear the disruption
26 Dr. Topol has not been designated 2 of it.
22 a§ an expert. 2 Or we can do it another way,
22 MIR. KLINE: Let's go off the 2 which is, to the extent that you
23 record, 2 believe that there's expert
Za THE VIDEOTAPE TECHNICIAN: 2 testimony, which I think is gaing

il (Pages 34 te 41}

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Gwe

i ge
Page 42 Pageg4d4 sonal
i to be your objection ali day, Mr. | 1 patients, your research in this -|402 - “ le
2° Goldman, why don't we just reserve | 2 institution; is that correct? opinions a“
3 that as an objection, and then you 3 MR. GOLDMAN: Objection, cbs “eoneling
4 don't have to say it all of the 4 opinion testimony. ive
5 time. It will be one of those 5 THE WITNESS: That's -lGo2.— no povsews
6 reserved objections. : 6 correct.
7 MR. GOLDMAN: I will reserve | 7 BY MR. KLINE: caudal
a erent rome OeH ote ios auaie. io joel Q Nici, Ou ales fanned
9 make it as often as I hear it, : 9 opinions relating to the conduct of the |. Fol [02 -
16 because it’s unclear in many , 10 pharmaceutical company, Merck, and its Mw
11 states whether or not reserving an / 11. conduct of research and its marketing and — \ re lary
12 objection is recognized as ‘12 its making available to the public the ov ce
23 actually preserving it. So, I'm '13 drug Vioxx; is that correct? \ |e terbne
14 going to have to make the |14 MR. GOLDMAN: Objection, (eased On
15 objection. (15 opinion testimony and form. ~ :
15 What 1 wiil do, though, is (16 THE WITNESS: That's t f
17 when it calls for expert 117 (nie,
18 testimony, I will say objection, 18% : ne A GO
1° opinion testimony. /19 Q. And those opinions were exeds ot) ly
20 MR. KLINE: As far as I'm 20 expressed in many forms, and they would clin AMIAY.
21 concermed, you can say cbjection -21 include places such as 60 Minutes, GA Anal iS
22 to any objection and state the :22 ranging from 60 Minutes to the New York i (pgp QL .
23 dasis at some time when it is :23 Times, to the Joumal of the American ict LS INKY
24 being argued in front of a court 24 Medical Association: is that correct? to
Page 43 Page 45) WK ee _?
1 unless itis something that has to MR. GOLDMAN: Object to the i ref KE wy
2 be off the record. That way I form, opinion testimony. t
3 don't have the disruption all day. THE W ITN ESS: Yas. - NO SEC cla
4 Is that agreeable? wag
5 MR. GOLDMAN: Mr. Kline, I'm te _ Violas Cow's
5 just telling you what I'll do is . 6 fo show you a document which is from
7 what you said a minute ago, and gt 7? November 24, '04, marked as Exhibit : Ovdiw - ewna|
8 that Is, when you are asking for § Wumber 2. st docks Iwi
9 opinion testimony, I will say \ . 9 --- Pct alse
19 objection, opinion testimony, :10 (Whereupon, Deposition ;
Li MR. KLINE: That's the best ll Exhibit Topol-2, E-mails, TOPOLE Hiv se as
12 I can do with you? if 0000450, was marked for ; Aes Pot A
13 MR. GOLDMAN: Yes. 13 identification. :
14 MR. KLINE: Let's go back on 14 --- i ‘estimnowy
LS the record. I'm sorry for the /i5 BY MR. KLINE: Layo [Ar _ io
16 interruption, Dr. Topol. 16 Q. It's an e-mail fram you to ‘ie
1? THE VIDEOTAPE TECHNICIAN: 17 David Graham. Who is David Graham? ave ey)
18 Back on the record at 9:55. 18 A. David Graham is a safety ae SP ee
19 BY MR INE: 12 officer at the Food & Drug
IEEE vores z 20 Administration swscondud
I believe you answer ed the Si Q. You wrote an e-mail to him mt Wye velevat”
22 last question, which was, you have formed 22 on n Now ember 22nd, 2004 fi lowing Ww hat eho
(22 opinions in the scope and context of vour 23 Lips t \
24 duties and responsibilities to your Za

co a OC ).-
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-bo2 [Fo [#02 - opinions ve Meeks lies" and “enovs
talatve. and thas ivapropey lain ov _

CculTed a Iv

Page a6)
MR. GOLDMAN: Objection,
opinion testimony.
THE WITNESS: That's
correct.
BY MR. KLINE:
When did you write this to

MR. KLINE: Before we go
back on the record, let's ask, is
there a reason for relevancy
objections on the record? I mean,
it's a discovery dep.

MR. HAMELINE: Can I just

note on the record here that Dr.
Lapa! iz. ac ove seen trom bis

‘amet eras
COA I et Bret FO

10:00 p.m.
Q. And when was it in the

Y

MM BP RRR rR Re

t
ha

context of? What was it after? I'm
asking you in a non-leading fashion.

A. It was -- he had testified
on the 18th of November at Senator
Grassley's hearings on Vioxx --

Q. Does this --

A: -- and I wrote to him after

ae oo WO PAO we

Pe eH Poe pe fe
PSS SURG ROR ES ebvaneonn

that.
Q. Does this e-mail --
MR. GOLDMAN: I move to

strike opinion testimony.
BY MR. KLINE:

te oO lo

Noo Ba Wt

_ record or at least off the

Does this e-mail reflect i”
some of the opinions and conclusions that

‘|

NNW HHP ee Be J pp Bp

Bao

Page 4

you reached relating to Merck's conduct
efits scientific studies and its

marketing of the drug Vioxx over the past
four years since you have become involved
in the matter?

" opinion testimony.
And, Tom, we can go off the
record for a second.
THE VIDEOTAPE TECHNICIAN:
Off the record at 9:57,
MR. GOLDMAN: Can I have a
standing objection to Exhibit 2
and any discussion about Exhibit 2
on the ground that it also is
irrelevant, and it calls for
opinion testimony?
MR. KLINE: Yes.
--- 20
(Whereupon, an 21
off-the-record discussion was 22
held.) 22

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OM ub Ne oe WO Am oT ds Ww oh Fe

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hours as seven hours, and we're

resume, a very busy man, he's
treating patients, he has academic
and professional! obligations at
the clinic. He's here pursuant to
the deposition notice and also
pursuant to The Court order which
regulates these depositions.

MR. KLINE: Yes.

MR. HAMELINE: He's here for
the seven-hour period. I
understand your concem about
working these issues out off the

videotape. However, if this goes
on, We're going to count the seven

rage 43

going to give you some leeway, we
want to get this done in a fair

and appropriate fashion, bui we've
been going now for about 24
minutes, 15 of which seem to have
been off the record.

MR. KLINE: | agree.

MR. HAMELINE: fust so I
note my concem up front.

MR. KLINE: They are off the
video record. I agree fully. I
would like to ask him questions.
I've asked Merck's counsel if they
will simply agree with me to say
the word "objection," and they can
say all the objections they want
to any court, any time in the
country.

MR. HAMELINE: Fine. Let's
just go ahead.

THE VIDEOTAPE TECHNICIAN:
Back on the recard at 9:59.

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which was in the Cleveland Clinic Journal

— 2 [ol 4072. - Jestmonry re, Roxx appre val is at pascal om pevsena kyow edt thus tmaproper
Page 50: np oe expe
I Sit, I'm looking at the part fs ay ate KLINE: witness
2 where you say, "I am bothered." Do you (2 Q. Do you believe that there Lesh
3 see where you say to David Graham -- is ']3 were, in the context of what Merck did, \ me)
4 Graham a physician? ')4 “outrageous lies" by Merck? =. tt) >
5 A. Yes. ip? MR. GOLDMAN: Objecti Response
6 Q. So, you're saying to Dr. [6 opinion testimony, leading. Not
7? Graham, “I am bothered." Would you read iy? THE WITNESS: I belief% th .
Sitar ror ass = anal smear ea Rebrreintbih abil 7 | ltad m
3, PICdse?
9 A. “Iam bothered by the 19 misrepresented, yes and
10 continued outrageous lies of Merck with /40 BY MR. KLINE: de fondant
11. their fullpage multiple ads that ‘they bs Q. You said in fails to
12 published everything’ and that they never :2 sentence there, "This, Olo\¢
13 had a trial which showed any harm of :{.3 cannot.” Do you see it in the very last tp for
14 Vioxx until APPROVe, when, in fact, there if4 sentence? and to
15 were two by May 2000." AS Ae
16 @. Continue. ‘SG A! Aun Ky
17 A. "Tam also upset that the 17 tru opPpe
18 story of their scientific misconduct for 18 to aure
19 the VIGOR paper in" the New England BO eM donee
20 Journal of Medicine, that's "NEJM, with ‘BO TNESS: Yes, yes.
21 errors of omission (deaths), erroneous Bt wrote. * Does
22 data (MIs)," or heart attacks, "and .¥2 BY MR. KLIN not post -
23 incomplete data (more than 1/2 of the / 43 Q. Would/you read the last date
24 thromboue events) has not received any | 44 sentence of this/please? | [death
Page 9 =. 3] tdocament
1 attention whatsoever.” MR. GOLDMAN: Same ths ey
2 Q. Okay. Did you believe -- objection, opimion testimony, pre- lrvi
we Studies
3 MR. GOLDMAN: I'm going to 3 form. 4 i
4 object, Tom, to the form, and all 4 THE WITNESS: "This cannot an G
S of this calls for opinion (5 stand and truth about Vioxx needs ‘Tesh “ony
6 testimony. S46 to come cut." i< pase d
7 BY MR. KLENE: BY MR. KLINE: on personal
8 Q. Did you believe what you Q. And today, sir, are you jc. now ledge
3 wrote in that e-mail to Dr. Graham? prepared to tel! what you believe to be eventS
19 A. Yes, I did believe this. 1p the truth about Vioxx? d
11 MR. GOLDMAN: Same 4 Od.
12 objection. pairisin an es oats enaNaaeinis: caw ata dayne SS
he THE WITNESS: I was 13 (Whereupon, Deposition we
14 privately expressing it to Dr. :214 Exhibit Topol-3, "The sad story | ve d
is Graham, but I certainly stand by 15 of Vioxx, and what we should ia
16 that and believe it, yes. is learn from it," (Karha/Topol},
i? BY MR. KLINE: 17 Cleveland Clinic Journal of
18 Q. Okay. :18 Medicine, Volume 71, Number 12,
19 You believed it then, and do i9 December 2004, 933-939, was
#20 you believe it now? Zo marked for identification.)
P21 MR. GOLDMAN: Same 2 ---
eh2 2 objection, vavbhie i Lek Rac Rae a cae AY
23 THE WITNESS: Yes, I 23 Q. Lett me show you an article
24 ] 24

VJ lartiastonds.Ordnes peggrinete Dave antinl€19FBx1

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— Counsel s qynestions ave iaperrnisiibls, ieadiys and iepepe

Page 54)
in December of 2004. December of 2004,

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¥ 7 ‘ :

YS vst baud on pevional knowledae 5 is thus

Page 36 inaduaiswille

minutes so far.

11. of this institution, which is widely
12 circulated, has a circulation of nearly
13 100,000 physicians and paraprofessional

Pon 15
16 there, if you would please, sir. ‘AG
17 Anywhere is fine. ‘7
18 What I'd like you ta do -- “Les
Qos wise, ‘a
: Bo
1 saga or the story of Vioxx, as you see it fai
2 as aresearcher and prominent physician f22
3 in cardiology? 723
4 __MR. GOLDMAN: Objecttothe  —s_24
. Page 55)
form, Can I have a standing 1
~ objection on this document and 2
testimony about it calls for 3
4 opinion testimony, 4
CY i BY MR. KLINE: 5
XN £ Q. Please, sir. 6
4 I A. [believe it's certainly ?
yea part of trying to get the facts straight 8
, 3 eh 3
2 RELA Oe Se er ace Bane? V0
1 MR. GOLDMAN: Tom, I havea 11
12 question. Can I have a standing 2
13 objection to this document and any 3
14 testimony about it on the ground 4
L5 that it calls for opinion 3
16 testimony? 16
1? MR. KLINE: Yes. You can 17
18 have a standing objection to 28
19 anything that you say objection to 13
29 that doesn't take my time in 25
Zi asking questions during this “2h
22 deposition. [ want three hours of (22
a3 direct examination of this 23
Z4 witness, and I've had around ten 24

Q. Tell us the story as you
understand it as it happened in 1999
based on what you know, and tell us how
you knew it and what you know and how the
story began.

MR. GOLDMAN: Object to the
form.
THE WITNESS: Well, in

1999 --

MR. GOLDMAN, Calls for
opinion testimony.
THE WITNESS: -- in May, the

FDA approved Vioxx for conmmercial

use, So, that 13 an important

there's an article which was written, : BY MR. KLINE: /
you'll have it in your hands in a moment, ES Ee RS CGIAR epre :
called “The sad story of Vioxx, and what ' 4 through, if you would, please. I to
we should learn from it." Did you . 5 look at your thing.
co-author that article? 6 You said the story starts in
A. Yes, I did. ' 7 1999, I don't want you ta read the
Wr Witter ts tie terete rere rennet atte Gtimetneathtiomehimil
9 Jourmal cf Medicine? : 9 basis to tell us the story.
10 A. That's the medical journal :10 A. Yes.
i112
12

Page oF

time, timeline. That was also at

the tme when the FDA had a fornal

review of the medicine, where the

primary reviewer already had
expressed in her document, Dr.

Vuilaiba, that there was a concem

regarding clotting events with

Vioxx even at the time of approval

in May 1999.

BY MR. KLINE:

@. You write here that, "The
approval was based on data from trials
lasting 3 to 6 menths and involving
patients at low risk for cardiovascular
illness." Do you see that?

MR. GOLDMAN: Object to the
form, lacks foundation.
THE WITNESS: That's night.
BY MR. KLINE:

Q. What is the significance of
that fact?

MR. GOLDMAN: Object to the
form.
THE WITNESS: Well. this is

15 foe oa o et rere
13 .,Fadses 2a tO

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that
B pre- da ted
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Ewhich
PuAME SS
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Rinvolved
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~ additimally Mien ve, "oti eo eae 60: 9-13) peviains 4o studies
thot cleav post - date Tyvins death. Tis ‘estintei violaes tha Gouri Ovdew
anol is iverdlevant

Page 58 Page €60
one of the most significant parts il opinion testimony. ke :
of the whole clinical development 2 THE WITNESS: Well, the ro Beals
of the Vioxx medicine, and that is 3 medicine's risk, Vioxx’s risk, has respon Se:
that patients with heart disease 4 been evident since trials i See
were not tested in any meaningful / 28 conducted in 1999 and all the way .
way, and we know from multiple i 6 through the time of withdrawal in PreUous
databases and surveys that at i 7 September 30, 2004. Cs poise
Testy Se percent or ire Ree iN. .,
patients who actually took this i 3 Q. Have there been multiple addinem
medicine when it was in clinical '10 tests and multiple studies that have, in all |
use actually did have known heart | 11 your opinion, proven that fact? tradi és
disease. -12 MR. GOLDMAN: Objection, velied

MR. GOLDMAN: Move to strike 13 calls for opinion testimony. Apa
as nonresponsive -- /14 THE WITNESS: There's been wee

BY MR. KLINE: 2 replication of untoward Bclinicet
Q. Why -- 16 significant excess of events of preds
MR. GOLDMAN: -- and calls 11? heart attack, death and stroke in UAC
for opinion testimony. i138 multiple trials. That's right. pre re
BY MR. KLINE: |19 BY MR. KLINE: cop le te
Q. Why, as you view it, is that 20 Q. Okay. oy W2Zare
an important fact? 222 Do you have any doubt about comple

MR. GOLDMAN: Objection, ;22 this in your mind, sir? at

calls for opinion testimony. 23 MR. GOLDMAN: Object to the me of
nn SHE WITNESS: Well it's 0 24 form, calls for opinion testimony, =| Bt rwint's
Pace 39. Page €] i }
important because if the medicine 1 THE WITNESS: There isn't Bthe S¢
has a clotting risk in arteries 2 any question in my mind about acre f
such that it could induce heart / 3 that. BAe’ 7
attacks, strokes or death, the /4 BY MR. KLINE: pr pve
patients who are most liable to 3 Q. Ididn't say in the , Ci es
suffer as a consequence of that 6 beginning of this deposition. You were Stk
would be patients with preexisting 7? subpoenaed for this deposition, is that and yrer
or known atherosclerotic artery } 8 correct, sir? Su brit tied
disease. NiO 9 A. That's correct. as part OF
BY MR. KLINE: 16 Q. And you have not been -- you led
oo , . . . the pe
Q. And did this medicine or | 11 are not serving here as an expert witness alysis
does this medicine, in your opinion, have 12 for any party; is that correct? analy St
such a risk? | 23 A. No,I'mnot. oe pur togethor

MR. GOLDMAN: Objection, 1 Se AE Ea ee aie by uere &
calls for opinion testimony. :15 ask you all day long about things that ‘

THE WITNESS: There isn't -16 are in your writings. in 2060 In!
any question about the medicine's i? The things that you're before irvias
tisk in this regard. 18 telling us today, tell me if there's cath

BY MR. KLINE: -19 something that hasn't been said in your
Q. When you say there's no 20 writings, because I'm gotng to ask you

question, sir, can you give us broadly, 21. about things at least that I found in

and then I'l! get into details with you 22 your writings. Okay?

later, broadly why you say that? 23 MR. GOLDMAN: Objection to

MR. GOLDMAN: Objection, 24 form,

- 26 (Pages 58 to 623

49S92cdddba-489F-87d2-231e4a lester

Case 2:05-md-01657- @e DEK ecu a jes 1 Flea Oe 17 of 42
‘Tawa ancicle pals ¢ sn fuss Z 00}

Page 62 |

1 THE WITNESS: Yes. ou largest -- the largest trial of
B ashelels cmcaeeeeteimeel: 2 Vioxx that was ongoing and heading
i Q — ere Was 4 Study 3 towards completion, but
m4 catied VIGOR; is that correct? | 4 nonetheless, the drug had been
5 A. Yes. 75 approved in May 1999, knowing fhat
Bo Q. And you eventually became ; 6 this trial would be forthcoming 1
7 familiar with this study called VIGOR; 1 a matter of months.
So CONECT? se Eh Reoboiels
A. Yes. . 9 Q. Let me jump ahead for a |
Q. Did you participate in it? ‘10 moment.
A. No, not at all. ‘a1 There came a point in time
Q. Who did that study? '22  -- did there come a point in time where
A. This study was done by 13 you published a study in the Journal of
rheumatologists, the doctors looking 14 the American Medical Association?
after patients with rheumatoid arthritis. 15 A. Yes.
It was a large trial by a network of 16 Q. Okay.
rheumatologists and patients, about 8,000 17 And what did that study
patients with rheumatoid arthritis. '18 involve briefly? I'm going to explore it
Q. Who funded the study? '19 a lot later, but I want to put it in
A. Merck, /20 context right now.
_Q. Who conducted the study? (21 A. Well, the JAMA paper was the
A. Merck. 22 first published work to call out that
Q. By the way, back to 1999 for | -23 there was indeed a significant risk of
amoment. Before the drug was even 24 heart attack in the VIGOR trial and that _

studied clinically in patients, were
there, to your knowledge, signals and

ra

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co
rt

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We id bo pe

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this needed a whole reset of our thinking
of the safety of not just Vioxx, but also

issues relating to the drug from a quest this whole class of COX-2 medicines. We
pharmacological perspective that would |! also had the data for Celebrex to analyze
indicate that the drug had any Mee panse :5 from their so-called CLASS trial and all
r significant cardiovascular risks of any | Neta 5 the studies that had been recently
kind? Yes or no? leading 7 completed.
| MR. GOLDMAN: Objection, qveshan 8 And so the main conclusion
™ opinion testimony and forn. - 9 was that we were concerned about risk and
THE WITNESS: There have / 10 that patients with heart disease needed
been published papers, for . 11 to be appropriately studied.
example, by Dr. Garret FitzGerald, “12 Q. In order to --
antedating the trials, which -13 MR. GOLDMAN: Objection,
raised a concern regarding 14 calls for opinion testimony.
suppression of prostacyclin, LS BY MR. KLINE:
which, of course, could be linked 16 Q. In order to look at -- in
to the risk of heart attack, but “17 order to write that article -- and you
it had not been demonstrated in a 18 were a co-author; correct?
definitive way in clinical trials Lg A. Yes,
at the time of the approval in May 20 Q. -- did you need at that
1999. 21 point in time in 2001, which would
But what was interesting is -22 obviously be true today, to learn and
that in May 1999, there already 23 understand the mechanism of action of the
was the VIGOR trial, the very 24 drug as well as the clinical trials, as

aed

an

C 2:05-md-0165/7- DEK, D 1978-1 , Filed 3/05 t4
Spot. 06 ye od RET Joo, SAMA Ree: Mie VEE Sr

THE WITNESS: That's
correct.
BY MR. KLINE:

- — ‘also -- well, let's )
look at the -- let's talk some more.

Let's talk about VIGOR now.
A Ves

Page 66
1 well as the animal and in vivo studies Da
2 that were done? | 2
3 MR. GOLDMAN: Object to | 3
me form, opinion testimony.
mS THE WITNESS: Well, in order
6 to write the article, and I was a : 6
7 senior author, so, I was the 7
ie Sess doresprenetiste=fontie meni
z= article, [ had to be familiar with / 9
£0 all those points, that is, the 10
- experimental animal data, the :11
a pharmacokinetics, the pharmacology 12
a of the drug, the background of the ££
drug and, of course, what clinical 14
data were available. It mostly, 625
of course, centered around the /16
en VIGOR trial. ; c17
Mm BY MR. KLINE: \ I '18
a Q. And how did you educate “i 49
yourself on that, sir? | '20
A. Well, Dr. Mukherjee, who was i 21
; our fellow at the time, was pulling ail i 22
the studies together. I was also | 23
reviewing the literature, as well as Dr. — 24
Page 67
} Nissen. So, the three of us worked Dy
together to put this analysis and then / 2
subsequently the paper together. 7 3
Q. Okay. . 4
Following our broad outline 5
§ in the article that you wrote in the {6
# Cleveland Clinic Journal of Medicine in 9
3 December of 2004, you indicate that 48
"VIGOR's strong evidence that rofecoxib" 19
-- that’s the name for Vioxx? (2 0
A. Yes. ytd
Q. -- "increases the risk of N12
MIs,” and it came out of that study; {13
correct? dia
A. That's right. 115
MR. GOLDMAN: Object to the 16
form. a?
BY MR. KLINE: 18
Q. You also say that "The g
incidence of Mis was higher in the . 40
rofecoxib group than in the naproxen at
g2 group." Is that correct? fo 28
28 MR. GOLDMAN: Object to the < 8
me form. ’

Q. VIGOR was, I think you
described, I don't think it’s as
controversial, is the first -- let Ine

dy, when did
you become familiar with it?

A. Well, I only became aware of
it, not when it was published in November
of 2000, although going back, I reviewed
that publication. But I only became
aware of it in February 200] at the time
ofthe FDA special Advisory Committee to
review the data from the VIGOR trial wiih
respect to concems on cardiovascular
risk.

Q.__ What did the VIGOR trial

say? What did Merck say that the VIGOR
trial showed relating to cardiovascular
risks?
MR. GOLDMAN: Object to the
form.
THE WITNESS: Right. Well,
I remember it very well, because
the day that that panel had
reviewed all the data, and one of
the panelists was my colleague,
Dr. Steven Nissen, I read -- I was
actually at the medical college of
Georgia, I was a visiting
professor, I was reading the USA
Today that morning, and it said
that this was due to naproxen,
that the VIGOR problems of heart
attack was an issue of naproxen
being beneficial rather than Vioxx
being detrimental.
So, I was a little puzzled
by that, but I didn't think too
much of it until T got back to
Cleveland. and the next day met

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op [ore 5 iS poled

Lacks Fancalion sb Ss "hese nor
rsa Mhearsay, thisds 'b.
ay fA ” oa analysis of Vieokopual

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~Bo2 5Y - ey you wisov A iS te coming mm fay notice AS
| KR, on Condevsathms wir colleanys | wwida y BrTopol keegan doing

te wh
ave War sary, Tope | facks pevsenal know | AAG. independent r sear EDA
7 ' * ; See _ :

Page 76 i Page ads y
with Dr. Nissen and Dr. Mukherjee - 1 that there's a problem with the Commi Hee
about the FDA proceedings. And ? 2 experimental drug Vioxx. ana tee.

Dr. Nissen explained he didn't 1 3 And beyond those concems kk
think it was just so simple as the 4 was that this trial was done in patients - commen
naproxen hypothesis, as we later ' S with rheumatoid arthritis without heart that €lo ned
termed it, and we started to drill | 6 disease, and so whatever was being seen from it
down on the data and concluded / 7? in the VIGOR trial could be far worse in were the
TT crs ee eer Tet ttre = mela lela elit lhl iS in
MR. GOLDMAN: Objection. : SECRET EEE SEN | 7 MPCHUS
Move to strike, nonresponsive. 10 as nonresponsive, opinion fr Dr
BY MR. KLINE: “11 testimony, Topol 's
Q. Okay. ‘12 rope’ S
What did you find was as: origi age
conceming about the VIGOR data? nswer, is that FeSscarch.

A. Yes. Well, there were something that -- is that a capsule of
several things that were particularly :16 what you were thinking, you and your
bothersome. Number one, that if naproxen 17 colleagues were thinking, but you in
was protective, ithad not ever been /18 > particular, when you saw the VIGOR trial
proven, that is, it didn't -- we didn't :19 published in the New Engiand Journal?

know for sure it had an aspirin-like 20 MR. GOLDMAN: Object to the
effect, And so even if we could give -- i 21 form.

assign naproxen the same magnitude of 22 THE WITNESS: Well, I didn't
protection as aspirin, that would be at 23 even take notice of the VIGOR
maximum a 25 percent reduction inheart | 24——_trial when wasn the New

Page 710 Page 7

attacks, which has been very carefully
studied for aspirin.

So, ifnaproxen was as good
as aspirin, that could be 25 percent
reduction. But on the other hand, in
VIGOR, we saw a 500 percent, that is, a
20-foid increase in heart attacks. So,
the order of magnitude was greatly in|
excess of anything that aspirin could do.
Furthennore, the second
point, in that if you have a randomized
trial and you have an experimental am,
which is anew drug which hasn't been
studied extensively, still a lot of
things that need to be discovered about
it, and you have an anchor drug,
naproxen, that had been available for 20
years, and if you then do a comparison
and you say, there's more than five-fold
heart attacks and two-fold excess of
cardiovascular serious events, how could
you possibly conclude that it was the
naproxen being beneficial? The only
appropriate conclusion from that would be

England Joumal. {1 wasn't on my
radar screen, and it didn’t really
catch, I believe, the cardiology
community, because the heart
attack part of that publication

Was not -- It was not featured, it

was the protection from the

gastrointestinal side effects that

Was the main conclusion, but only

looked back at that paper after

the FDA review of the VIGOR data

and also of the celecoxib data.

There were two days of FDA

reviews. One day was devoted to

Celebrex, and one day was

dedicated to Vioxx.
BY MR. KLINE:

Q. To put it in context, the
VIGOR trial was published sometime in the
year 2000; correct?

MR. GOLDMAN: Objection,
opinion testimony,

THE WITNESS: VIGOR was
published November, [ believe,

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Ww Me Ole mM AM oR we @ OO Am IB Ww AD ope

BoBP Bo BO Ma fe pe pa Pp po

39 (Pages 70 to 73)

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B~aTHA oe we

November 22nd, 2000.
BY MR. KLINE:
Q. And then the FDA hearings
were early next year in February of '01?
MR. GOLDMAN: Objection,
opinion testimony.
THE WITNESS: February 8,

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ig
il

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ae A

BY MR. KLINE:

Q. And it was after the
hearings in 'O1 where this, would it be
fair to say -- | hope there's not an
objection -- got on your radar screen?

A. Yes. It was only after the
FDA hearing and Dr. Nissen coming back
and Dr. Mukherjee going through the data,
getting tt all collated and three of us
meeting, did this become something of an
area of interest. It certainly was
nothing in medicine that I had any
interest in. It wasn't in my field of

Q. Was it something that
concerned you?
MR, GOLDMAN: Objection to
form.
THE WITNESS: As soon as we
looked at -- well, as soon as I
read about the FDA panel, as I
said, that morning, in the
newspaper, | was concerned. But
that concern was magnified after
starting to review the data with
my colleagues at the Cleveland
Clinic.

this was potentially a big deal.
Q. fs that the kind of thing
that you do as an mdependent academic

MR. GOLDMAN: Object to the
form.

THE WITNESS: That's an
obligation that we have, is to
process data that's out there, try
to make it available to our
colleagues in the medical
community, and in the interest of
patients and caring for patients
in the optimal way. This is the
: sort of thing that is critical.

2:12 BY MR. KLINE:

13 Q. Did you undertake what you

-14 did with any axe to grind towards Merck
15 or towards the drug Vioxx?

wml nu Bw Me

BY MR. KLINE: “16 MR. GOLDMAN: Object to the

Q. Okay, 1? form.

Were you alarmed? 18 THE WITNESS: I had

MR. GOLDMAN: Object to 13 absolutely no axe to grind. I had
form. .20 an excellent relationship with

THE WITNESS: I don't “21 Merck. [had done clinical trials
know -- 22 with Merck, In fact, I had just

MR. GOLDMAN: Opinion 23 completed a very large trial
testimony. 24 called TARGET of over 6,000

! Page 7¢
i THE WITNESS: -- if I would
- 2 use the word “alarmed,” but I was
: 3 significantly concerned that there
i 4 was a medicine that was gaining
5 increased wide scale use. There
6 already was, of course, extensive
/ 7 advertisements and popularity of
9 je anteelcaaewdiideicioaibid eainaeel le,
7 9 be wrong. That was aconcem. |
16 would say it was a significant
1a concern.
:12 BY MR. KLINE:

713 Q. Okay.
(14 What did you decide to do?
15 A. So, we decided we would put
/26 together a manuscript to pult all the
'17 data that we could together, because
‘18 there had not yet been one, there had not
'19 yet been a registration in the medical
20 literature to the medical community that

physician and scientist?

fage

~ Counsels &@ MEM
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a? wheblww Ae. tod QMry CAPE 405d92c4-4dca-daaf-87d2-23 19341 café

29 (Pages 74

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Case 2:05-ma-O1697- ay -DEK Document 1978-1 Filed 3/05 Page 21 oj 4
(_V LY

Page 73 Vase BC
t patients published in the New rt “ So, at that point, while we
2 England Journal of Medicine. And [ 2 were ready to submit and did submit the
3 so I actually, for many years, 3 paper to JAMA for consideration, I sent
4 enjoyed a very good relationship | 4 the paper to Merck, my colleague, Dr,
5 with Merck. So, I do not believe | : 5 Laura Demopoulos, who i had worked on
6 there was any axe to grind | 6 this so-called TARGET trial, to see why
7 7 he data

whatsoever.

QO. Dol hear you correctly that

you actually were a clinical researcher iL Q. Now, it appears --
who had done a major clinical trial for } ‘iL MR. GOLDMAN: Move to
Merck? N yf F12 strike, opinion testimony.

A. Yes, We had collaborated 13 BY MR. KLINE:

coronary intervention, that is, getting '15 the process of getting the information

stents or balloon angioplasty, and we '16 together and then drafting the paper; is

were testing a medicine that they made :17 that correct?

called Aggrastat and comparing it with A. That's correct.

another medicine called Abciximab, and it | Q. And did the papers represent
Fee #0 largely your findings and your

wT. , you ana your. gics yt 2 conclusions?
went about the project that you've just | (22 A. Yes.

described to me, which is collecting Q. And were those findings and
essentially everything you could find

i

with Merck to do a trial in patients with [ 14 Q. You actually went through
i
|

[ed
[

about the drug Vioxx that was in clinical Ines poset. as well as raising some concems relating

trials? . Aperopnidic to the drug Vioxx?
MR. GOLDMAN: Object to revolfertanton MR. GOLDMAN: Object to the
form. guestiog form, opinion testimony.

THE WITNESS: Yes. Ali that 5 THE WITNESS: There is no
we could find, which was in the & question they were critical of the
FDA database, as well as whatever 7 concern about the safety. But I
publications were available. 8 think the most important statement
BY MR. KLINE: 9 that we made, which appears in the

24 conclusions critical of the VIGOR trial,

9 Page 22

Q. Allright. 1 article, was about how there's a
Tell me what you did then. ] /1t mandate to do the appropriate
I mean, what process did you follow, 12 clinical trials which had not been
briefly? “13 done and wrote, "definitive
A, Well, we culled ali the data 14 evidence of such an adverse effect
together, which did appear in the JAMA. (215 will require a prospective
It didn't have much in the way of changes “16 randomized clinical trial." "Tt
from our initial submission to the actual 17 is mandatory to conduct a trial
publication in August. But the one if, 18 specifically assessing
concern that came up along the way was 19 cardiovascular risk and benefit of
that the data were different in the New 20 these agents. Until then, we urge
England Journal of Medicine paper 21 caution in prescribing these
pubiished in November 2000 and the FDA 22 agents to patients at risk for
database that was available in February 23 cardiovascular morbidity."
2001. 24 BYMR.KLINE: |
. pest DATES levis Death

(Dares Ta t)
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Page 82)
1 Q. Okay. ' 1 sending her the manuscript, as you viewed
2 And I'm going to mark a copy 2 it?
3 of your JAMA article as the next exhibit 3 A. The main purpose was to
4 number. While it's being marked, let me 4 reconcile the differences in data that
5 save time so we can keep the ball ' 5 had been published in the New England
6 rolling. I'll mark it, | 6 Joumal of Medicine and what was
7 oe 7 appearing in 3 the FDA database. There
oe TCPCUPOM, De pUsntien 4 ere Fepen
Exhibit Topol-4,"Risk of +9 Q. The! FDA database 1 was made
Cardiovascular Events Associated .10 available after the February 2001 hearing
with Selective COX-2 Inhibitors," 11 to the public; is that correct?
(Mukherjee, et al}, JAMA, August | anki 12 A. That's right. T'S response ;
22/29, 2001 Vol 286, No. 8, c 13 Q. Posted on the website? Bee
954-959, was marked for L 14 A. Posted on their website." jet
identification.) Shane ob 15 Q. Available to anyone to see? Ob} det
- > Re 4 uit sol /16 A. Absolutely. tp ern
BY MR. KLINE; 7 SKMA pease ‘17 Q. And Merck, did you have or to ave
Q. Before it -- you've read to 18 access to their internal data? ogg tonity
me from your published article; correct? / 19 A. No, we did not. To Cure
A. Yes. (20 Q. Did you want to get it?
Q. It was published in the ‘21 A. Well, that's one of the
Joumal of the American Medical '22 reasons that I tried to reach out to Dr.
Association; correct? '23 Demopoulos. Since I had worked with her,
A. Yes 24 wehada very good relationship in our
Pate 83 Page
1 Q. Itunderwent peer review? x Qi other trial that we had done, I know she
2 A. Absolutely. pts © 2 did not do research in this area of COX-2
3 Q. And it was published and respons, inhibitors, but I thought she could be
4 then out there for the world to see; is Appr page helpful to get these concerns about data
5 that correct? tT leas 5 inconsistencies straightened out.
6 A. Yes, yes. _J as ine S¢ Q. Was the data forthcoming?
7 Q. Now, along the way, I want foundahoia| A. We--
f 8 to go through with you a couple of steps quesiiovis 8 MR. GOLDMAN: I'm sorry.
aq 9 along the way. I don't want to spend a g Objection, move to strike as
#10 tot of time on it, but I do want to get '20 nonresporsive.
711i the process. Before you published it, il THE WITNESS: We never
#12 you said to me, and I'm just capping, | ‘12 received any revisions from anyone
413 that you talked to Dr. Demopoulos? | 23 from Merck. That was never sent
gi4 MR. GOLDMAN: Object to | ends “14 to us, any suggestions, changes of
; fom. . My 415 data. There was never anything
THE WITNESS: Yes. respons b5 sent back to me or fo my
BY MR. KLINE: lea re 1 colleagues.
Q. You actually -- andI havea “4s¢b°’te BY MR. KLINE:
copy of this. You actually sent to her 19 Q. Was there any suggestions of
the manuscript; correct? | pe ... 20 the changes in the -- to be made in the
A. Yes. - ») 21 manuscript?
Q. In advance? T's 422 A. No, there were no changes.
A. Yes. —~J cae 23 The only thing was that there was a visit
5 wz.
Q. And what was the purpose of as alae. 2 ofthe Merck researchers to Cleveland

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SIML OBYMEN LE Aysusr Zoo) Tame armete

Clinic, but there was nothing sent.

Q. I want to talk to you about
that. You say they came and saw yau at
the Cleveland Clinic?

A. Yes. On April 14, 2001.

mh Wi BP bt

who Alise Reicin was?
A. She was one of the people
who visited me. I had not met her

brother was an investment fellow at

6 Q. Let me hold that. April 14,
B? §=62001? : 7 Morgan Stanley?
os a Fore Tei os tree A jee
aoe 9 Q. The JAMA article was 9 form. Lacks foundation.
Q m0 published when? LO THE WITNESS: No, | had no
oe 1 A. August 22nd, 2001. :12 idea of that.
[2 Q. And did they come to see you -12 BY MR. KLINE:
3 after you sent them the draft transcript? 13 Q. Have you ever heard that?
4 A. Yes. Itwasa manuscript. 14 A. No,
7 £eS Wve don't call it 2 tran h -15 MR. GOLDMAN: Same
ae (16 objection.
17 world of transcripts. 17 BY MR. KLINE:
18 A. That's okay.
19 Q. We actually occasionally :
20 havea manuscript. There's probably a happens here is she says -- she wants you
° 21

couple of them on the Vioxx story being
dtten right now.

at some point in time did someone from

Merck ask you for an electronic copy of
the -- of your document?
A. I don't recall if I sent an
electronic copy. It's possible, but I
just don't recall.
Q. I'm going to show you an
e-mail. ] will mark it as the next
exhibit number. I'm going to put it in
the record, it's brief, to save some --
you know what, I can put it right in
front of you. Exhibit Number 5.
(Whereupon, Deposition
Exhibit Topol-5, E-mails,
MRK-ABA0009274, was marked for
identification. }
BY MR, KLINE:
Q. You'll see here it says, “Tt
Was great to have the opportunity to meet
you in person." This was after you met
with them. "We appreciate the time you

PBI BO BD OND PE pope pe tp pe
ws dw Be it oD lo om a] my

HR
i ld hoe Oo VO 7) mM UR em Ww & of

in

to send an electronic copy of the paper.
It appears from documents that J have
that that was done. Do you recall doing

A. After reading this e-mail, [
now think, yes, I must have sent a paper
copy to Dr. Demopoulos, which prompted
their visit, but then subsequently [
probably complied and sent an electronic
version.

Q. Ijust have a few questions
about the electronic version. I'm going
to mark an exhibit. It's an intemal
Merck document. I don't think you're
familiar, would be familiar with it, but
i want to ask you just a couple of
questions about it.

MR. GOLDMAN: You can ask,
but I'll object, lacks foundation.
MR. KLINE: Go ahead.

b02 Bing o

(Whereupon, Deposition
Exhibit Tepol-6, E-mail 4-26-01,
with attachment, "Selective COX-2
Inhibitors are Associated with An
Increased Risk of Cardiovascular

“ris a Mmiark -

of his
took," and it is a request from a woman Events,” (Mukherjee, et al) draft seorviee
by the name of Alise Reicin. Do vou know manuscript, MRK-AAZOGG146] - rt en ueew OE
- | ne ne am ne
ie Seskion 6 batd Mm. W's ons emai | rr? | (Pages s€ to 88 mat O .
4 Calle WAT the Once Phy, «5590 4.ccs0a-439-8742-041 abeteats! wra Denowle
heavsa oe men (Ex. 5 Nine heansay ryle AS . and Alise betcia
O) eis a Sabena rk Vice eatitient, Was wrift fe
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Atise Feld Tu Svar officiel Capacity as agent fer Merc

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i un Piyetal scienhAle arhcic

i New was - redlintgs wis ee and his
b AS — Aas Wo impact OVA AW MG auSé tt if
page 99° issues im TS CASE pag452 1,
1 MRK-AAZ0001593, was marked for 1 reading from?
2 identification.) 2 MR. KLINE: I'm reading from
3 --- ' 3 the cover page.
4 BY MR. KLINE: 1 4 MR. HAMELINE: Second page.
5 Q. Now, it's a copy of -- 1 | 5 MR. KLINE: The first page
6) =6would like you to identify it, the front . 6 of the document, underneath the
7 page of it. There's an e-mail that says i 9 Reicin to Demopoulos markup. It
a Sst Ss trons e secretes —s Se cea nlf foreleg lshh habeas
© 9 Demopoutos. It says, "Did this in the i
B10 middle of the night -- not sure it makes a ’
oe ,21 A. Yes.
Sane EEF tte ie Voraware ot y12 Q. Okay.
13 the fact, Dr, Topol, that the Merck :13 Wait till you see this one.
14 higher-ups did a lot of work at night on 14 Under "Results" --
15 Vioxx? '15 MR. GOLDMAN: Object to the
16 MR. GOLDMAN: Object to /16 form, sidebar.
17 form, lacks foundation, 1/17 BY MR. KLINE:
18 THE WITNESS: No. /18 Q. This is your paper: correct?
19 BY MR. KLINE: i19 A. Yes. Well, [ mean, this was
AQL

basically transmits back Alise Reicin’ S
markup, electronic markup of your
document. Are you familiar with it?

Page 81.

MR. GOLDMAN: Objection, -1

lacks foundation. ‘2
THE WITNESS: I've never "3

seen this. (4

BY MR. KLINE: : 5
Q. Okay. 6

i want you to tum to Page 7

8, sir. I want to find out if this is 8
something that was ever suggested to you. _ 9
Tf you'd look at the front 20

page, please, first. Front page. di
A. Oh, yes. 12

Q. Sorry. “13

A. Yes. 14

Q. lf anyone who listens to 15

this or sees this some day feels that I'm /16
rushing, it's because I have a lot to “17
cover in a short time under a time frame. 18
I want to try to get as much as I can 12
out, 20
"Selective COX-2 Inhibitors “21

Are Associated With an Increased Rusk of 22
23

“4

the one that apparently was worked over.
Q. Correct.
A. This is not our paper.
Q. Were you aware of the fact

that Merck was working over your paper? |

MR. GOLDMAN: Object to the
form, lacks foundation.
THE WITNESS: I had no idea
unty! this very moment.
BY MR. KLINE:

Q. Look under "Results" on Page
8. Do you see -- I'd like you to look at
the -- don't look at the underlined
sentence yet. Look at the last -- the
sentence that begins, "The results of the
event-free survival analysis on the 66
cases showed that the relative risk of
developing a cardiovascular event in
rofecoxib treatment arm was 2.37"
percent.

That's something you
eventually told people in your JAMA
paper; correct?

A. Yes.

Q. Did you know or did they
suggest it directly to you that according
to Dr. Reicin, "we prefer to fltp the
data and say it was reduced on naproxen"?

MR. GOLDMAN: Obyect to the

Z2 (Pages 99 i
495d92¢d-4d0a-4891-87 d2-23103a 1638 ipg stg in
a, docti ment -
i 1S AA appmpac
Onell fA Han

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sears e, a0- Baas at op

~Coumilt Wiens ve caving

-f's Tesponse : wie’ ix fAGt

form.

THE WITNESS: It's amazing.
Yes, I see it here, but it’s
amazing, It certainly didn't

oO fin A WwW ho oe

BY MR. KLINE:
Q. Are you, sir -- have you

3 appear in our manuscript.
i

A]

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preston 5

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WS the fern, vse bathe do

ARE

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Page 94°

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leading, ana a

+

had been excluded essentially from all of
these studies, and so that was a patient
group that we were most worried about,
because they would have the highest
predisposition to life-threatening
events.

Q. Why was it important to

THE WITNESS
you don't -- researc

- ett nd the ‘data?
22 MR. GOLDMAN: Object to
a3 __ form

| 24 THE WITNESS: Well,ido ,_

~

there was 1s tor the

QO. ASir, your JAMA article --
MR. GOLDMAN: Move to strike
as nonresponsive, opinion
as
BY MR. KLINE:
Q. Sir, your JAMA article, J
think you read to me that your conclusion
Was to call for a full large-scale study;
correct?
A. That's right.

Q. Did you want a primary
cardiovascular endpoint study performed?
A. Not only did it need to have
cardiovascular endpoints, but it had to
have cardiovascular patients. Patients

ts
16

Bi pam Wont mA Bw wb

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i. jaan dais teidioks for

Pag

978-1 wo Page 25 of 42

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The tePon “efea ing the ¢ gam

Gument itSet€ ano writin b

a

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cardiovascular events when taking the
drug Vioxx and COX-2s generally?

A. Well, we already knew that a
Jarge proportion of patients who have
heart disease have concomitant arthritis.
And, in fact, in my practice, the vast
majority of patients who have come to see
me with heart disease, they also have
arthritis. But there was the Ray paper
in Lancet, the Tennessee Medicaid
database, there was the other papers that
I have referred to where 45, 50 percent
or higher percent of patients taking
Vioxx or other medicines in this class
had established known coronary heart
disease. So, these patients were

Sue
a .

P

essentially the highest risk for having a
life-threatening event.

MR. GOLDMAN: Move to strike
as nonresponsive, opinion
testimony.

BY MR. KLINE:

Q. So, did your study, what you
were proposing, was it to study the drug
in those people who were the logical
people who were going to take the drug?

A. Yes. The only way we could
get to the answer here, was it safe for
people with heart disease who have
arthritis to take the medicine, was to do
a trial in these particular patients who
had been completely neglected in the
development of Vioxx,

q i diye eRe meget tyne amet oe
MR. GOLDM A} :

form. Move to strike the
nonresponsive opinion testimony.
BY MR. KLINE:
Q. -- when you got into this
sir. in 2001, what did you think of

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a
to
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wy
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Case 2:05-Ma-O1697- ay -DEK Document 1978-1 Filed ee Page 26 of 42
Page 98: [£~ Pace 106
1 Merck’s failure to study patients, the 4 Q. The underlined words are Dr. iby bo2 Wis
2 very patients in whom the drug was going . 2 Reicin's, according to her e-mail which gpa~ 0c -
3 to be taken? ' 3. she wrote, Did you see what she said? destunon lacks
4 MR. GOLDMAN: Objection, : 4 A. Yes. b CS ,
5 opinion testimony. i 5 Q. "Conclusion needs to be tL fandgchen }
6 THE WITNESS: Well, there're | 6 toned down.” 4 Topo | is
7 a couple of ‘possible explanations, | 7 MR. GOLDMAN: Objection, : wwrtavnr \wav
s Drorrestsrhrert Cres rtcierle seers —s rackemfowcdetion
9 to know or they didn't want to do 9 BY MR. KLINE: Bi wih te emai
16 the trials that were obviously, as :10 Q. By the way, you met with Dr.
11 we said, mandated. They didn't 11. Reitcin; correct? {— 452 - futon }
12 want to do the trials. $12 A. Yes. ts Swann
13 BY MR. KLINE: 43 Q. She came out to see you? 1 -eshm pai
14 Q. Did you believe that they 14 A. Yes, With Dr. Demopoulos. ate
15 should have? P15 Q. Isee,
16 MR. GOLDMAN: Objection. :16 You knew Dr. Demopoulos wat iSgnO)
1? THE WITNESS: Absolutely. /17 before; correct? of tb Ww
18 And both, not just Merck, but aiso 18 A. Yes, a
13 Pfizer, and any manufacturer of a -19 Q. Did you knew Dr. Reicin? ae -Consels
20 COX-2 inhibitor. It wasn't just 20 A. No, I'd never met her oe estions ak.
at about a Merck problem, although ea
22 clearly the VIGOR trial was the ETRE ERE ‘ lead “
23 one that was most concerning. °23 you know, sil, at the time that her -
|22 BY MR. KLINE: . . 24 personne. file, her actual personnel file | entant
ia as ess vage 101 pecs aa ke
ee 1 Q. Ifyou'd look at K : 1 described her as the “tenacious defender form oj ect
ff 2 sentence of the paper on Pak ‘there's ‘ 2 of the Vioxx franchise"? Did you know
u | 3 more, but I dau rt do through : 3 that fact? ng ve Op Portia
4 itall. M ist you a copy, 4 MR. GOLDMAN: Object to the for cure
5 : were marking 5 form, lacks foundation. - Refers fo his
, 6 © provided a copy 6 THE WETNESS: Well, it has manuscript
M7 7 become -- I didn't know that, but Which is
af 8 8 certainly over time, that’s become some
2 Qur paper intemally? 3 increasingly and abundantly clear. nla vely
10 . Objection to 10 BY MR. KLINE: wits “1 ¢
il é foundation. il Q. Is she even a cardiologist,
ah 12 THE WITNESS: No. Nam just 2120 sir? pesored
E13 reading some, and it's very 13 MR. GOLDMAN: Objection, + gpeleyvan
J disturbing, but, yes. 14 lacks foundation. te dcendant ' 5
[25 BYMR.KLINE, —— as THE WITNESS: I don't state of mind
Ree WW. "Look at Page 18. .16 believe so, no.
E| 17 A. Yes. M4 Raku IN Ge soars:
‘ 18 Q. “Until then,” and this ended ead When she cane to see
1? up in your paper, "we urge caution in LS you, sir, did you believe that one off the
20 prescribing these agents to patients at .20 purposes was to n ize yowand your
21 msk for cardiovascular morbidity." Your 22 open 40
22 words? 22 : tot
23 A. That's the words that’s here 23 ks foundation.
c 24 in the paper that are published, yes. 24 HE WITNESS: Well \ . .
eS q gp ls rEesPpms :
7 | 26 (Pages 98 to 101) ele nexk
£05dS2edtdla429f-87d2-23123a1c3tef
rage
Py, Lol JAMA Atncle dhled ATOR IRVIN Dead

_ Bor OTERO ie pd CES Ine parts os NSS ee
+o Dr. bevy aud oaths ,
~ 402 [405-7 fo ols. seston ake iS ivelevant ¥ Hae iShaes 4 tas ra a — Nove

AoAS fi f, Ma

Nee ever, As exhmroney aR me div bn prejdivial
1 certainly. The comments she made explain it, Bocaied all the patients had
2 at that meeting would go along 2 theumatoid arthritis. So, if there's a
3 with that. I mea e basically 3. gradient of heart attack, it can't just
4 said that --|I remember the 4 be from that explanation.
5 conversation. It actually was 8 She also came with the
6 6
7 7

Kis excep hm
pte sa wsory

supposed to be three people coming notion that there were lots of data that

to visit, which was unusual, to we didn't know about, Dr. Nissen, Dr.
SSS TTS Te Dele O ema cept ata e Leto:

a) 9 of our prior relationship with | 9 files that the FDA had, but we didn't

10 Merck and Dr. Demopoulos and Dr. : 10 have access. And I said, well, we can't

11 DiBattiste, I had reluctantly 11 comment on data we don't have access to,

12 agreed to this meeting. But Dr. '12 and I'm sorry.

13 DiBattiste didn't show up, it was 13 So, the meeting probably

14 supposed to be the three of them, i4 wenton about an hour-and-a-half. It

15 and the meeting started out with °25 ended cordially. And at times she said

16 that we got it wrong, that we /16 that Merck was considering doing a irial

17 would be embarrassed. 17 in heart patients, and if we had any

18 BY MR. KLINE: '18 ideas, she welcomed us to forward a

g) 15 Q. "We" meaning? :19 proposal, protocol, and that seemed to

290 A. Dr. Nissen, Dr. Mukherjee :20 be --1 got the sense it was a gesture.

21 andl. /21 {didn't really think that Dr. Reicin was

22 Q. Three physicians at the '22 serious about it, but nonetheless, J

g}23 Cleveland Clinic? -23 thought that we probably should at least

[24 A. Right. 24 send some type of protocol sketch if they

Page 103

1 Q. Got it wrong? would like to see what our ideas were for
2 A. Gotit wrong, that we would ;
3 be embarrassed if we published this
4 paper. 4 the nonresponsive testimony.
5 Q. Her word? 5 BY MR. KLINE:
6 A. That's the word. The word 6 Q. Let me use a
| 7 is "embarrassed." And I thought that was 7? characterization, and you can agree or
} 8 harsh. And she came across as kind of 8 disagree.
[ 9 arrogant, 1 thought. But we talked it 3 Did you think that her
through, and I explained to her that, you - 0 attempts were to intumidate you?
know, we don't feel that way at all, and “11 A. I don't know if I would at
we will stand by our data. We only . 12 that point use the word "intimidation,"
wanted the input on inconsistencies of ‘13 but she was quite strong. In some
4 data. We did not ask to them -- for Dr. -14 respects, [ would even consider her
Reicin or colleagues to opine about our “15 comment brazen. But she didn't say, if
perspective. 16 you publish this, we're going to do such
But the discussion ended up 17 and such. You know, it was nothing like
okay. You know, she came about the 18 that.
naproxen hypothesis, which I dismissed as A I think she knew when she
the explanation. She came with the 20 left that we were going to publish this
rheumatoid arthritis -- that patients 21 paper without any change in the types of
with rheumatoid arthritis, you know, Dr. “22 things that she was interested in. There
Topol, have much higher rates of heart 22 was tio quid pre quo.
2 attack. And I said, well, that doesn't 24 Q. There appears to have been

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as lacks undad ow

Ra of Haas (aie.

Page

potential negative impact of the
publication, but...it is substantially
removed from the original. We" feel
"that revising it further to more
completely present a Merck perspective
might alienate the authors and" thus
"jeopardize our opportunity to contribute
ime

108 As respons *
These

comments

were attempe

Bt ned

c age 106°
1 --+ there appears to have been some 71
2 revisions that were made to the draft 7 2
3 after it was submitted to JAMA; 1s that . 3
4 correct? 4
5 A. Well, the reviewers of the 1 5
6 paper certainly had some revisions 6
7 requested, but I don't believe anything 7
wt Setaniiye woe chrareett SS Lorie s
9 process. The process was already -- had 9
10 started when that visit in April had :16
11. occurred, and that independent review was i143

12 something that we had to attend to, of

MRK-ABA0009693, was marked for
identification.)

2
3
BY MR. KLINE: : 4
Q. Very briefly. And, again, I 2 5
don't have the time to have you sit and 6
read the whole thing, but | want you to 7
look at the front page. 8
Apparently the manuscript 3

eT. :

f15 another document. It's a Merck document,
16 Exhibit Number 7. 16
_-- :17
(Whereupon, Deposition 18
Exhibit Topol-7, E-mails, with 19
attachment, “Selective COX-2 :20
Inhibitors are Associated with An i221
Increased Risk of Cardiovascular i202
Events," (Mukherjee, et al) draft :23
manuscript, MRK-ABAO009661 - 24

Page 197.

Did you know that's what was

going on?
MR. GOLDMAN: Objection, and
object --

THE WITNESS: This is
remarkable. I didn't know --

MR. GOLDMAN: -- to the use
of the document.

THE WITNESS: -- this was
going on at all.

MR. GOLDMAN: Dr. Topol, let
re just insert an objection.

Lacks foundation, and can I
have a standing objection to your
use of documents that Dr. Topol’s
never seen?

BY MR. KLINE:
Q. Dr. Topol --
MR. GOLDMAN: Can | have
that, Mr. Kline?
MR. KLINE: Yes.
BY MR. KLINE:
QO. You've now seen it. What do
you think of that kind of conduct?
MR. GOLDMAN: Object to the
form, opinion testimony.
THE WITNESS: I'm actually

tidn't ask them to contribute. We
asked therm to reconcile the data
inconsistencies.
BY MR. KLINE:
Q. Is part of the academic
process -- you've worked --
You've done studies for
large pharmaceutical companies, Merck?

Page lL

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maine

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es not

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Novels “tovdutt
Be Ave ivvelwaat
Ms cespyuie

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0 was further worked on internally at "10

11 Merck. Are you aware of that fact? 12
B12 A. No, 12
B13 MR. GOLDMAN: Objection to i3
4 the characterization. ‘14

5 THE WITNESS: [had no “15
pi6 knowledge of that. 15
.17 BY MR. KLINE: 17?
R18 Q. And there's an e-mail from 18
[19 Dr. Demopoutos to a number of people, 13
f20 including Alise Reicin. And they took a 20
821 crack at revising it, and if you look at 21
ey 22 the last sentence of the e-mail, "We 22
3 recognize that the revised” transcript 23
ae2 1 “does not completely neutralize the Za

~Cownsel is Mendis, “tke WiPAZSS

Tepe

2 (Pages 106 to 199)

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well before [rvin's death.

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an ed by pr.

~Violoes Courts Ce : Beda = ABI Le einen Docur Sak pest da Filed 205° 2 29 of 42
—Favthyr, Cownels ucts aloowt Monk als parors ave | coding avy kw,

aoa ima

A. Yes.
Q. Is part of the process to
get the scientific facts in the medical
literature, or is the real objective, or
is part of the objective to get the,
quote, drug company perspective?
MR. GOLDMAN: Objection.

wan Au bw NH

=n? ~The eon, | lacks foundation |,

Page 110)

lipo! bad no kowlatag of tun emails

THE Wt Nese. Wel you
know, I had been trying te have an
intellectually fulfilling and
collaborative relationship with
people at Merck, and that was
something that I think we enjoyed
up unti! this sort of thing, which
is obviously a departure from
that, but --

BY MR. KLINE:
Q.  Isit--
A. -- it's unfortunate.
@. Is it a departure --

MR. GOLDMAN: Move to strike
as nonresponsive.

BY MR. KLINE:
Q.__-- from sound academic and

scientific practice to attempt to
neutralize papers and try to inject a
particular perspective, rather than what
is the down the middle truth?

MR. GOLDMAN: Objection,
lacks foundation, opinion
testimony.

THE WITNESS: Yes. I mean,
I think that the role of academic
medicine is to publish a highly
objective independent processing
of data and perspective, and
anything to try to warp that or
twist it is unacceptable.

BY MR, KLINE: __--

Q. Is that how you view these
e-mails that I've just shown you --
MR. GOLDMAN: Move to strike
the nonresponsive portion,
BY MR. KLINE:
Q.  -- for the first time?
MR. GOLDMAN: Objection,
lacks foundation, opimon
testimony. 1

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bothered by this. tha
BY oS TNE tes a fov Kan
. ose e-mails, s: ' an d
/ cli cat tef
data awa lab
Vi 2000,
lecfore
ich did not make their way [é vin's
ich did not make their w
ew England Journal; correct?
A. No, JAMA, : H- Defendants
Q. I'm sorry. readin te
A. They didn't even make their tpaol's
way to me. I've never -- I've not seen Maly sis
ie relevant
to stutc oF
article itself, mind oF
A. Yes. Merck
QO. think we're moving along laann FES
Th eee teary that
Merck
supp xsse
and sav I've now covered that pre-JAMA Anta and
period. Is there anything im your mind Wan pu tated
significant that's been missed in the ' data ane
story leading up to the publication o ‘ c
the JAMA article? If so, I'd like to SI len ed
wink ee OnCSs
: ec othe * ~ Topo! Can
form, opinion testimony. a
THE WITNESS: Well, I think tonne r nhs
there were -- dc “1 te
MR. KLINE: It can't be an reacn”
opinion. J just asked him to tell hisogin
me what he knows, please. WVianusevi p th.

eh a
look at the VIGOR trial, there are
some conceming things that were
not incorporated in JAMA that |
only tuned in to later. I don’t
know if you would like to get into
that now from the Targum FDA
report or whether you'd like to
get into that subsequently. But
it's abot the VIGOR trial in

Ko |

22 (Pages Lid ts
2-27

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Viole SSC: 39 E2AIF GPPARE by RORMEEVEARA Tec @gIURRAsPaqRHe Yea
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Page 114!
December and November of 1999.

Serer ete =
(«Please tell us.

MR. GOLDMAN: That's why I
objected on opinion testimony
grounds. Move to strike, opinion

teshMOny., ceumeneres

the Targum report. It was in the
document submitted, but I have a
copy that I brought.
BY MR. KLINE:
Q. You actually -- | think I've
seen in your file, you have the Targum
memo in your file produced us, and you
marked it up?
A. Yes. I marked it up, but I
have a clean copy here that I wanted to
refer to. Here itis. Because this was
while the VIGOR trial was being
conducted. And this is an independent
FDA review of the data from VIGOR. It
also, m this report, includes the data

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and trial 085.
(Whereupon, Depasition
Exhibit Topol-8, Memo 2-1-01,
"Consultation NDA 21-042, S$-007
Review of cardiovascular safety
database (Targum) (37 pages), was
marked for identification.)

BY MR. KLINE:

@. I'm marking, and those who
see this will be familiar with this, the
February 1, 2001 memo of Shari L. Targum
of the Division of Cardiorenal Drug
Products at the FDA --

A. Yes --

QQ. -- correct?

A. Yes.

MR. GOLDMAN: Exhibit number
8?

MR. KLINE: Exhibit number
&,
BY MR. KLINE:
Q. You've interacted with Dr,

Hope pe
bl Ne oO

roe

oN BF Fb

oo Gow] ay UT Be ote Boe

Je!
Oo Ww a sl om UT

ibe fel BG ba

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Page
Targum?
A. Yes. I know Dr, Targum.
Q@. Okay.

Please tell us the
significance to you.
A. Well, this --
Q. You did not have this at the

th

or you did?
A. No. Well, Dr. Mukherjee
had, I think, reviewed this online, but I
had not. I only had reviewed the data
that he presented to Dr. Nissen and I,
but I went back to this report and found
many things that still had not even yet
surfaced that are quite concerning.
Q. Which are?

MR. GOLDMAN: Objection,
move to strike the opinion
testimony.

BY MR. KLINE:
Q. What are the concerning
parts to you that were known and flagged

2001?
MR. GOLDMAN: Object to ne
form, opinion testimony. lahore 200
THE WITNESS: On Page 5 it
talks about the DSMRB, which ts the
data and safety monitoring board.
MR. GOLDMAN: I'm sary,
what page?
THE WITNESS; Page 5.
BY MR. KLINE:
Q. Yes.
A. And the first thing it says
is during -- this is at the bottom of the
page, the last paragraph, "During the
November 18, 1999 meeting, discussion and
focus on the ‘excess deaths and
cardiovascular adverse experiences im
group A compared to group B'...In this
report, there were 40 and 17 patients
that discontinued the study because of
cardiovascular adverse events,” and then
there's a blood pressure. And it's
pretty easy to tell which is group A and
group B.

Tae

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ANS CIE Cd-dida-sASF37d2-241 s3atcaret

Case 2:05-md-01657- -DEK Document 1978-1 Filed ‘Be Page 3 2
b s. 1D f. 578k

—SAWL ov eehon as Md past '
U fO aS fis SENS pel

Page 118! Page ?
eT This is Novernber 18, 1999. ' 1 establish.
#32 This is highly concerning, that there's 2 A. And it actually then goes on
3 excess deaths in a trial and the DSMB is : 3 in this document by Dr. Targum, and it's
fF 4 noting in the course of the VIGOR trial. : 4 highly concerning because it says on Page
ES Q. You said November 18, 1999? ' 5 6, it says that, "The DSMB recommended
1 6 MR. GOLDMAN: Object to the : 6 development of a separate analysis plan
7 form opinion testimony. ' 7 for adjudicated events,” this is in the
= THEATRES Ss Pests orem ryt ereecnmanetliemefinamomalenien”
would be a ime when any concerms ' 9 this is the last sentence of that
about the drug, and, of course, '19 paragraph. "One concludes from this
now already the 090 trial, which I : 11 statement that the DSMB," the Data Safety
presume we'll get into, that '12 Monitoring Board, “received unadjudicated
already was known in May of 1999. | 13 adverse event data," and that there had
So, now we have the largest / 14 been -- further along, the last sentence
trial ever of the drug, and it's 15 of this, "At the time," this is now the
: causing, in the midst of the /16 next interim analysis, December of 1999,
a trial, excess deaths and serious '27 "no cardiovascular analysis plan was in
of cardiovascular events. So, this /18 place" for this trial, which is quite
if did not apparently lead to the - 12 conceming, to say the least.
ie alert that I would have thought in 20 MR. GOLDMAN: Move to strike
Bri the course of a large scale trial :21 nonresponsive opinion testimony.
a of 8,000 patients. :22 BY MR. KLINE:
H MR. GOLDMAN: Move to strike :23 Q. Is what you're saying that
a opinion testimony, nomresponsive. _ -24 the Targum memo, to put it in
of Page 119° Page 12%
1 BY MR. KLINE: 1 perspective --
2 @. What are you saying to us? 2 Is what youre saying 1s
3 Are you saying that in the period by the 3 that the VIGOR -- you learned from seeing
4 year 2001 that there were a series of 4 this document that the VIGOR data had Ee
5 things that were known to Merck? 5 been analyzed, as you would expect, going =
6 MR. GOLDMAN: Object to the 6 along at various stages? Be Ge
7 form, opinion testimony, Jacks 7 A. Yes, £2
8 foundation. 8 Q. And that at various stages, ei
9 THE WITNESS: Well, what's 9 were there red flags that you can see in er :
q10 evident here is it calls out the 10 this data? be
g12 53 versus 29 serious excess deaths -11 A. Exactly.
S12 in cardiovascular events as early “12 MR. GOLDMAN: Object to the
£13 as November of 1999, In the wake ‘13 form, opinion testimony.
ag) 14 of another trial, they had a 760 14 THE WITNESS: Exactly. And
¥/ 15 percent excess of heart attacks. 15 the point is, is that later we're
16 BY MR. KLINE: 16 told that the first trme they ever
17 Q. What study was the 53 17 knew about any problem was well
1&6 deaths, for instance? “38 into 2000, which couldn't possibly
ay 19 A. That's the VIGOR trial. 19 be true. Someone of the sponsor
20 Q. The VIGOR trial? 20 had to be alerted by this DSMB
21 A. At this juncture, at this 21 concer of excess deaths and
i 22 interim analysis by the safety and -22 serious cardiovascular events.
423 monitoring board. 23 MR. GOLDMAN: Move to
a 24 ©. That's what I wanted to 2a strike, nonresponsive, lacks

_ Vola 5 “Coats Ovo cpa epiaaens and ama dah oo Sp HIEMD "AA
Viesy ,as dosevived Wore. (see. 122 io-9) we @. cleavin formed afer
Fins dood.

f Page 122 Page 124
Sed 1 foundation. ; 2 concemed about it, but I have not
2 BY MR. KLINE: i 2 -- and I've discussed it with the
3 Q. Now, let's talk about VIGOR, i 3 FDA, but I've not gotten an
4 because that was some focus of what you 1 4 adequate response.
5 were doing when you retrospectively 5 MR. GOLDMAN: Same
6 looked at VIGOR and also a number of i 6 objections.
7 other studies including 090. : 7 BY MR. KLINE:
g rer — Gm beee Chey
‘a | 9 Q. Okay. 9 Go ahead.
10 You looked at, I think, a / 10 A. Back to the JAMA paper,
Fal 11 study called 085, 090, VIGOR. Any other? /11 though --
at 12 A. Those are the principal i12 Q. Yes.
4113 ones. I think all the studies, but those 13 A, -- we really zoomed in on
“0714 are the ones that we focused on the most. (14 three trials of Vioxx, study 085, study
S715 MR. GOLDMAN: Can you set a :15 090 and VIGOR.
416 time frame for this, please? (16 Q. Okay.
17 MR. KLINE: Yes. For the (417 You looked at the VIGOR
Hie JAMA article of 2001. That's what ‘28 trial, and you made some determmations is
E19 I'm back to and referring to. -19 there; correct? ee pew DMS
E20 THE WITNESS: Right. 20 A. That's right. ope blect
Epe That -- (21 Q. Okay. ee \
f22 BY MR. KLINE: 22 What did you -- I would like i OPT YuMls
R23 Q. I think while we've jumped '23 you to list out sequentially. If you've a AWat Maevek
i 24 around a little bit, we've done apretty =) 24 covered italready, list itsowehave it ty Goal A
4 Page 123. Page 125 98R
“E 1 good job of keeping things straight so 1 ina list. core Wichoc!
2 far, 2 What were your major HOM The.
£3 A. Well, we tried -- 3. findings as you looked independently back iC aWe De
if 4 Q. But the beauty will be in . 4 atthe VIGOR trial? Bs \ ma chive
oe 5 the eyes of beholder of somebody who sees 2 5 MR. GOLDMAN: Objection, Be
eh 6 this. 6 lack of foundation. é bs 200 \ ]
7 A. Right. T was just trying 7 THE WITNESS: | think the a woreove ¥
SE 8 to, while commenting on VIGOR, trying to B most important finding is ek vy, TOpe \
‘8 9 incorporate that there were problems in : 3 summarized in Figure | of that chs pr . d
%f10 the conduct during the trial, which have 10 paper, which comes right from the ch rsh ie
#11 not really surfaced, as far as I know. 11 FDA Targum report. And basically e he
: 12 But regarding the JAMA (12 what that figure, first time now SE ead ued
sfl3 paper, the August 2001 -- /13 published to the medical af yn fn
tld Q. You mean not surfaced to “14 community, it shows that there’s a
#B15 this date? 15 divergence of the heart attack and te on 0¢S and
R16 A. To this date. ‘16 serious event curves. The event i 940 Coparain
17 MR. GOLDMAN: Objection, 17 curves is Figure 1, whereby Ba A te Tara
fia most te strike, nonresponsive, 18 starting at four to six weeks mo) whic
19 opinion testimony, lacks 193 after the start of the medicine, & Mee corer
#20 foundation. ~20 Vioxx compared ta naproxen, there i wre i y
1 THE WITNESS: I'm not aware 21 is an over two-fold risk of : wt ~ 7% Vv
22 that this concern regarding the 22 serious events. Dv. N 1S
3 data and safety monitoring board 22 BY MR. KLINE: eA man
is 4 has been registered, I've been 24 Q. That Kaplan-Meier curve, fF 00 \.

2 (Pages L122 ff
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Case 2:05-Md-0165 7- gay -DEK Document 1978-1 Filed #705 Page oo

Ex [z

1 which will be marked -- we don't have to | 2 six-week trial, which had a 760 percent
2 display it right now, but I want to mark 2 excess within the six weeks.
ee 3 it so that it's part of an exhibit to be 3 Q. Yes.

4 displayed as part of this transcript. We : 4 A. The VIGOR trial I just
<5 15

6 6

i 7

: a vt a
P Tvins deatl
ete, Advani

will put a number 9 on table -- on Figure mentioned.
1 of the Topol JAMA article. Q. Yes.
B A. The ADVANTAGE trial, which

Vhereupon, Deposition wast derrcrkmernnitinnt-strewedat— Soni ay
9 Exhibit Topol-9, Excerpt from | 9 significant excess in the 12-week time
10 "Risk of Cardiovascular Events /10 frame. Bave waptumisyi blo
11 Associated with Selective COX-2 i 12 And the VICTOR trial, which S respons
12 Inhibitors,” (Mukherjee, et al}, '12 has not yet been published, which is a f&vs te
13 JAMA, August 22/29 2001 Vol 286, /13 colon cancer trial of 2,300 patients 7 bletenda nt iy
14 Na. 8, 956, was marked for 14 coordinated out of Oxford, which has been i asta tz oem
15 identification.} at least commented on by the men react
16 oe : investigators having immediate excess in mtro untae
1? MR. GOLDMAN: Haven't you . ities re Me hadi cS-
18 already marked the JAMA article? eee: ADVAN TACE
19 MR. KLINE: J did, but I :19 MR. GOLDMAN: Objection, Is alse
20 want to mark Figure | as a 20 move to strike nonresponsive peicva nt tp
21 separate exhibit. 21 opinion testimony, lacks Dy. To pals
ees ee Stites 2 foundation. CAMERA fm
Q. That Figure 1, which is the :2 CORE Berd SUS gece, - MI As
Kaplan-Meier curve showing the time to : 24 Q. What, then, sir, opmion and” 2 ‘on aie
Page 127° Pace 3 a eV
cardiovascular adverse events, the line : 1 conclusion have you reached -- let me if \ olhes owt
separated how many days? ' 2 strike it and start again. a en Ag skanont
A. Between four and six weeks / 3 What conclusion have you e Onli te se
these curves diverge. ' 4 reached, Dr. Topol, relating to the ERTS bawol mm
MR. GOLDMAN: Move to strike ' § increased risk of cardiovascular events, : ste steal
the opinion testimony. ; 6 heart attacks and strokes relating to
BY MR. KLINE: _ 7 short-term usage of the drug? pot lt
Q. Is this, by the way, 8 MR. GOLDMAN: Objection, Tyvins ‘eal
something that has been replicated in 9 opinion testimony. fis response:
other studies? 10 THE WITNESS: Well, there is
MR. GOLDMAN: Objection, “Li -- [should also add the four Same as
move to strike. 22 randomized trials, there's the abo/e -
THE WITNESS: It's been /23 cumulative analysis by Dr. Jum
replicated in four randomized “a4 published in the Lancet which
trials. i5 shows no relationship between
f BY MR. KLINE: 16 duration of therapy and heart a
tof Q. That it separates at an “17 attack excess.
ele early time? 18 But interestingly, all four
ag 9 MR. GOLDMAN: Objection. 19 of these trials, and the An hi frarf:
2 0 THE WITNESS: That's right. 20 cumulative Juni analysis, was on
Be21 BY MR. KLINE: 1 patients without heart disease. Adv 474
BE 2 Q. Okay. 22 So, the risk of it being immediate haa, @
323 And what are those studies? 23 and early could actually be much
BO 4 A. Study 090. which was a Za more exaggerated in natients with

32 (Pages 126 to lee.
405092 cd tea 4eof-87d2-2312787 0 blah

Jee (evaoh «5 fo what Shehots “at £- fat

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death is inapavwnisavle and © -vwlbvane fo YL

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Page 34 of 42
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‘ot

Page 130:

heart disease. - 1 Q. Replicated by other studies
BY MR. KLINE: | 2 wenow know tater?
Q. Any doubt -- : 3 MR. GOLDMAN: Objection to
MR. GOLDMAN: Objection, 4 the opinion testimony.
move to strike the nonresponsive (5 THE WITNESS: Three other 5
: testimony. | 6 randomized trials. P
7 BY MR. KLINE: : 7 BY MR. KLINE: 5
bi a ABOUT IT TT VOUT Mine — nase ; ~~
2 A. There isn't any question 9 A Yes. st
P10 about this. To see it replicated across , 10 Q. And by the way, I'm going to eA Navel
‘11 four trials in patients who don't even /11 get to naproxen. On this naproxen 3 2-000
E12 have heart disease is quite an important -12 theory. has there ever been a randomized a) before
Fl3 finding. 1/13 clinical trial demonstrating that N's death
Ba 4 MR. GOLDMAN: Objection to ‘14 naproxen is cardioprotective? 4
ska 5 opinion testimony in the last /15 A. There is no -- there are no ie:
6 question. 16 data that I am aware of to show that
7 BY MR. KLINE: 17 naproxen in any randomized trial is :
é y 8 Q. In this particular '18 cardioprotective. i
oe 9 Kaplan-Meier curve for the VIGOR trial, :49 Q. Do you think that if there et
gfe Q that was not published in the New England '20 were such a study, you would know about
g4e21 Journal of Medicine; is that correct? -21 = it? 4
eh 2 A. No. As I mentioned earlier, 22 A. I would think so. Be
i233 the New England Journal of Medicine paper ‘23 MR. GOLDMAN: Objection. Bs
E424 featured the gastrointestinal side 24 BYMRAKUINED
: Page 131° Page 135R
1 effects and benefit, but it did not show 1 Q. So, what do you think of
Pe 2 in any graphic form, and there are other 2 this naproxen hypothesis that was put
; 3 irreguiarities of this paper, but it - 3 forward by Merck to justify the results a
| 4 certainly did not highlight the heart - 4 in VIGOR?
; 5 attack problems. 5 MR. GOLDMAN: Objection, ee
6 Q. Okay. 6 opinion testimony.
7 Now, I want to do findings. 7 THE WITNESS: It doesn't
8 Then I want to go to what you've 7 8 justify -- I mean, as 1 mentioned 2
9 described as uregularities -- 9 earlier, the problem is you have
LO MR. GOLDMAN: Move to strike 19 an experimental drug which is not
il aS fonresponsive. il fully defined, and you compare it
12 BY MR. KLINE: 12 to a drug that's been known for 20
713 Q. -- because you have a 13 years. To all of a sudden to
14 perspective on both of those issues; 14 ascribe some type of magical §
15 correct? is protective effect without any
y 16 A. Yes. is]
ay 7 Q. Okay. Sanaccegese res:
13 Let's talk about the 18 Q. Idon't have the document in
ka 19 findings. -19 front of me, but I think I've read in the
aj 20 You mentioned already that -20 many documents that I've had in front of
#421 there was an increased risk of 21 meacomment by you to the effect that if
RE22 cardiovascular events starting al the 22 Merck's view were true, it would be the
RE223 six-week period in this study; correct? 23 wonder drug of wonder drugs or something
&E2 4 A. Yes, 24 like that. Did you say something like
34 (Pages 1320 to 133)
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Case 2:05-Md-01.65 7-@@y-DEK Document 1978-1 Filed ee Page 35 of 42

Page 134] Page i3¢

1 that at some point? boo cautionary statement was because a

2 MR. GOLDMAN: Object to the 1 2 we didn't believe that this was an -

3 form, opinion testimony. : 3 acceptable explanation. é

4 THE WITNESS: I don't think | 4 BY MR. KLINE: &

5 I did, but probably some other 5 Q. Teli me, Dr. Topol, as you Tekmont

6 person who astutely made that | 6 wrote it in JAMA and as you believed it mo

7 statement, but that wasn't me. ' 7 then and today, the significance of 099, ve .

— ee Et . G— Henares O00. Sia apehinthataeticl \jiolades COW

9 Q. Would that be a correct - 9 When was it performed? Just tell me what dl:
16 statement? i 1G it was and what its significance was to me “ns ava
1i MR. GOLDMAN: Time out. | you. :
12 Object to the form, lacks , 12 MR. GOLDMAN: Objection, anal 45 ve
13 foundation. You're now asking him i 13 opinion testimony.

14 to comment about a statement that (14 THE WITNESS: To me, that

ae study has been overlooked. It

Sit : Est has, in many ways, extraordinary
Q. Would it be a correct PL significance in the clinical
statement that naproxen would be the a pee development of Vioxx. And the
Fike. reason is is that this study had

Ey

Reicin/Merck hypotltesis wage fhe? cp a9 978 patients. And within the 978 (we 2: 0-9
MR. GOLDMAN’ O totheytgy [21 patients, they were randomly pe ”
form, opinigatestfnony, lacks oe P22 assigned, they had the typical iyts reSPMS .
foundat\sh. oF ZRve arthritis, osteoarthritis Date 9m
Ment , “DA
wih TESS: Well, asl Ooi nde4 so-called, they were randomly
_# ell, ash OM eaade? So-called, they were randomly D40 and

yes f fr Page 235 Pace 13

is distinguishing

tioned earlier, tohavea = _eayeert] 2 assigned to Vioxx, a medicine ana lable
£0-fold benefit over aspirin, (Acree 's | - called nabumetone or known as Cars

which is a very important part of stuted | 3 Relafen, which isn't used very ws deat
4 our armamentarium for preventing 99M oT 4 much, or placebo. ' .

5 heart attacks, to be 20-fold FENN A: And so what they had were ; aay wince
Hy G better than that, that would be a Ly . 6 these three arms tested with only Cora
7 quite remarkable. YP 7 12-and-a-half milligrams of Vioxx. His opis
a8 MR. GOLDMAN: Move to 8 So, it's a very low dose of Vioxx OWS

9 strike, nonresponsive, 9 relative to these other trials veactad M
10 BY MR. KLINE: 10 that we've been discussing. oS me SHUG

faders ‘4 i OLEAN

G8 ~i1—BY MR. KLINE:

So, your opinion formed in 12 Q. 090 being a 12.5 milligram, : Shorty
the context of reviewing this Merck data 13 as opposed to VIGOR, which was $0? pe atte the
and Merck study in VIGOR, was that the -14 A. That's right. " ODASEV
naproxen hypothesis was tenable or (15 Q. Okay. icovrNm tee,
untenable? 16 A. And what is so striking AED ait

MR. GOLDMAN: Objection, 17 about this trial is that it has, at the ivge Kor

opinion testimony. “18 end of six weeks of therapy, a ruins

THE WITNESS: Well, in the 19 statistically significant 760 percent death

manuscript, back in 2001, we tried 20 excess of heart attacks. Now, it’s not

to present that that's a possible “21 quite 1,000 patient trial, but certaimly

explanation. We actually pointed 22. that can't be minimized. And the poit ; qj
that out in a couple of poimts in 23 being is that if you see that trial in

the paper. But at the end, our 24 replication with the problems with VIGOR,

35 (Pages 134 to 13

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Page 138)

that's being given to -- tens of
millions of prescriptions,
millions of people are taking it,
and it could be much worse in

patients with heart disease; we've 7) &

(02° Uso

got direct-to-consumer advertising
unleashed with the mast successful

opinion testimony.

a possible five-fold increase in
heart attacks in patients without
heart disease; you have a drug

at
THE WITNESS: Here you have yma. 21

you have a very serious problem. / 4
But moreover, what is the ' 2
3 misleading statements that have been / 3
i 4 made, is that there have been no trials 1 4
2S ever done with Vioxx, before APPROVe, 25
; 6 comparing the drug except for naproxen, 1
© 7 in which there was arisk. In fact, 1 7
coo cre Was strdty Cot: wrirreiy COTTprarect 7 . 3s +
3 placebo or nabumetone, which showed a i 9
i i :10
: HEB ove beens oes 611
nonresponsive opinion testimony. /12
13. BY MR. KLINE: 13
14 Q. Was there a public -- the 14
15 Merck lawyer keeps objecting as 15
16 nonresponsive. He just simply doesn't > 16
like what he hears. iL?
MR. GOLDMAN: Object to the :18
eve: sidebar. :19
" ie ae : IN BS earn mie ees 20
Q. Was there, as you view this :21
and as you viewed it back then in 2001, a '22
real public health threat out there in /23
the form of the drug Vioxx? "24
Page 133.
MR. GOLDMAN: Objection, 1
opinion testimony. > 2
THE WITNESS: Yes. When we 3
published our article in August 4
2001, there was an accompanying 5
article in the Wall Street é
Journal, an Al article, in which f OL 7
stated just precisely that, that 8
we're staring a public health -- I hearse
don't know if T used the word T's C
"disaster," but it was a respmse) * disease.
significant word, that this is a He ig 12
major public health issue, yes. retry:
BY MR. KLINE: te a r4
Q. Why did you state it in Statements
those blunt terms, sir? he mane 16
A. Because itobviously wasa The 17 far?
public -- , YEECAS, 5

MR. GOLDMAN: Objection, vie 19

oe 20

in the history of pharmaceutical
development; we have a major
significant jeopardy, yes.
BY MR. KLINE:
Q. And at that point in time --
MR. GOLDMAN: Move to strike
as nonresponsive.
BY MR. KLINE:
Q. At that point in time, all
you're asking Merck to do was what?
A. Ali--

MR. GOLDMAN: At what pointé

in time?
MR. KLINE: 2601.

THE WITNESS: All we

_ Wanted --

BY MR. KLINE:

Q. Tilrephrase the question.
As of -- give me the date of your article
again. It would be August 22, 2001.

As of August 22, 2001, all

you were asking Merck to do was what?

A. Todo an appropriate trial,
to acknowledge that there may be risks,
and that didn't occur, but to also do an
appropriate trial in patients with heart

Q. You made a big point in your
paper about the fact that the trials that
were done, I think you already told us,
weren't done in patients whe were at risk
for cardiovascular disease. Correct so

A. Yes.

Q. Those would be the real
patients you'd have to really worry
about; correct?

MR. GOLDMAN: Object to the
form.
THE WITNESS: Exactly. The

we pila
launch lacks
fourdation
4p?! kote)
It's respiisy
Testvrieny
refers te
helevand -
coms: he rahn
OF posi hye
adverts re
and the lact
OF E21 balan,

passed

Sea Hee

The witvtess
is persmnadh
Awa4t oF

7, carvil <p —

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ow) aA wn

endpoints. First of all, had that study
ever been done by Merck?

MR. GOLDMAN: Objection,

foundation.
BY MR. KLINE:
Q. Had that study ever been
done by Merck up until this point?
MR. GOLDMAN: Same
objection.
THE WITNESS: As far as |
know, there had not been a
trial -- as reviewed from the
Targum report, there had not been
a trial with a cardiovascular
analysis plan with an external
review, adjudication of the
events. No, it had not been done,
BY MR. KLINE:
Q. Had anything that is called
a prespecified cardiovascular endpoint
study, has it ever been done by Merck?
A. It has never been done in my
nund to this day.
Q. Did it need to be done?
MR. GOLDMAN: Objection,
opinion testimony.

THE WITNESS: Absolutely.

Ht fo pa

Page 142° \ Page 144
1 patients with heart disease had And we called for it innumerable
2 been completely excluded from times.
3 these trials. BY MR. KLINE:
4 MR. GOLDMAN: Opinion Q. And here's the question.
5 testimony. ( 4 . Why? And why is that different than what
6 BY MR. KLINE: we've heard -- we hear from Merck that,
7 Q. You needed to study them; Lendins, well, we studied, and we went back and we
o COeCr: oy pe te froked aL tire cir Trevirtes: ah SIT
9 MR. GOLDMAN: Object to the SS 3 you can tell us, why?
10 form. 10 MR. GOLDMAN: Objection to
il THE WITNESS: That's j 11 form.
12 correct. 212 THE WITNESS: Well, as f put
13 BY MR. KLINE: (13 you to the letter in the New
14 Q. And you also say in your 14 England Journal, which responded
15 paper that you needed to do an evaluation 545 to that poimt.
16 of endpoints which were specific. We /16 BY MR. KLINE:
17 have two minutes left on this video il? Q. Or just tell us, if you can.
18 before we go to the second video. '1g A. Yeah, The main thing is
1g Tell me why that was so '19 that Merck was saying that they were
20 important, to do specific cardiovascular :20 doing trials to look at cardiovascular
221

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Uo I Ro ee AO Am Ua oe fa

Ja!

They were done in patients without heart —__

endpomts like APPROVe, like VICTOR and a
prostate cancer trial. These were not
being done for a cardiovascular endpoint.

Page 145

disease.
These were trials being done
to extend the indications for the drug to
new areas, such as prevention of colon
polyps or prevention of prostate cancer.
They had nothing to do with assuring
safety from a cardiovascular standpoint.
That could only be done in trials of
patients with heart disease.
Q. Any doubt about that, sir?
MR. GOLDMAN: Move to strike
as Nofiresponsive.
THE WITNESS: There is no
doubt whatsoever about that

Statement,
MR. GOLDMAN: Objection,
opinion testimony.
BY MR. KLINE:
Q. Did they do what they should
have done here?
MR. GOLDMAN: Objection,
opinion testimony.
THE WETNESS: They did not
do what was needed 10 be done,

7 #8: Testwon
CV eydp mh

-{ha* Mow ck has wovev done 37 (Pages
sha gad ‘should have” 1%
ye inant eel 0 wet a veoh try @ ipevt.

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T's responses Dr. 2 Fpl
are Coin ele not
yasd Vptn YCanw of

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Page 146. rage 148
1 which we called for in our JAMA "1 Street Journal there's a quotation
2 paper 2 attributed to you. You said, "Either
MCCEIN . 3. they are moving at glacial speed,"

4 Wel , 4 referring to Merck or, “they are waiting

5 videotape, and we will take a | 5 to see what the fallout will be from this

€ two-minute break to do it. : 6 and other reports. We're staring ata

7 THE VIDEOTAPE TECHNICIAN: 7 major public health issue."

5 Ol me record, Tras es oie

9 -- 3 Q. Is that a quote that could T's resem S ?
10 (Whereupon, a recess was '10 be attributed to you? Teshynony
il taken from 11:05 a.m. until il MR. GOLDMAN: Object to not b
12 11:17 a.m.) -12 form, opinion testimony.
13 _.- (13 THE WITNESS: That certainly Me alage oF
14 THE VIDEOTAPE TECHNICIAN: 14 was, and that was the one J was VEN '¢
15 Back on the record, 11:17 a.m. :15 referring to a little earlier veer tol fo
16 Tape Number 2. “16 about this public health concern, nis stv y
17 BY MR. KLINE: ;17 yes. ant te
18 Q. Dr. Topol, in the believe it 18 BY MR. KLINE: + RES
13 of not category, I want to pick up speed. :19 Q. It says that "Merck sought Beene 40
20 I want to try to go through a lot of :20 to downplay the cardiac issue." Is that “jee ara
21 things that you've said and done, and :21 true? LATA ue AW
22 we're using time up quickly. :22 A. That's what the reporter WNAEM O
23 You mentioned -- first of ‘23° said. AoA” arn ,
24 all, what you've told us so fararethe 024. MR.GOLDMAN: Object tothe

Page i47 Page 149

1 various conclusions that you reached, 1 form. — hk

2 those which you formed during the process 2 THE WITNESS: But I de “kot \ fesbwinwr

3 of gathering information, leaming about 3 believe that's true, because that . laud ow
4 this drug and researching this matter. 1 4 was, I think, the ulterior purpose 8 amassable-

5 MR. GOLDMAN: Object to the 5 of the visit] epseacuper, } \aarsAZ)

6 form. : AT et: See

7 THE WITNESS: Yes. “7 Q. Apparently at some point, ~402: [wis

8 BY MR. KLINE: . 8 Merck, according to the published report Jechyapa (yas

9 Q. Okay. : 9 here says, that they asked Dr. DeAngelis .
10 Now, let me go. /10 at JAMA -- who is he? neo proba ve
11 After your study came out in 11 A. T's a woman. x
12 JAMA, did it raise a oublic health :12 Q. I'm sorry, I apologize. Al valu . What
13 concern in the lay press? -13 A. Cathy DeAngelis, and she's es | ;
14 MR. GOLDMAN: Object to the -14 the editor-in-chief of JAMA. - Nove publishes
15 form. “LS Q. And that they wanted to have A resem ivi
16 THE WITNESS: I believe -16 arebuttal right to your article when it 2] .
17 there was a concern that was -17 was published? He JRA, 15
18 brought out by the paper and then (18 MR. GOLDMAN: Object to the ia ‘velo ava
19 many subsequent studies as well. 19 form. oF
20 MR. GOLDMAN: Move to 20 THE WITNESS: Yeah, thiswas #3 post: das “ft.

i strike, nonresponsive. 21 quite extraordinary. I had not dont Ww His
22 BY MR. KLINE: 22 heard of something Jike this
23 QQ. Okay. 23 before. This was because we had ta.
Za First of all, in The Wall 24 been, J think, decent and

28 (Pages 146 to 148 -40%: Abo
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. prevail

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Ss Fi
c Coan

wat) PRY RAACAA Page iS0 s
1 coljegial to Jet Merck know about - 2 doctor who sent it, and it was in res
2 the paper, now they wanted to ; 2 the JAMA letter correspondence APP tewant
3 publish their own paper at the 3 about our article, that one of the 1s ve ues
4 same time and an editorial as a | 4 doctors was complaining, having 7 gaa
5 simultaneous publication in JAMA. | 5 received this overnight with the e¢ Yer
6 BY MR. KLINE: 6 five-page taking on the nok &
7 Q. Why. was -- | 7 Mukherjee/JAMA paper, and so it r ut.
a PRS er rte seterrcter re anita earls a
3 strike, nonresponsive. | 9 response from Merck and its -
BY MR. KLINE: 10 consultants. RN
Q. -- as you saw it, the a mE a
incremental risk of increased risk of '12 move to strike as nonresponsive.
heart attacks and strokes so important, /13 BY MR. KLINE:
and how did it relate to the numbers of /14 Q. Did you ever hear of ther
people who were taking it? (15 refer to Dr. Sherwood as the enforcer?
MR. GOLDMAN: Object to the '16 A. Thadn't heard that, but he
hal form, opinion testimony. i 17 certainly --
Sek THE WITNESS: Well, if one '18 MR. GOLDMAN: Object to the
e139 thinks about the risk here, if ‘19 form --
Bare 0 it's -- if we use the APPROVe data 20 THE WITNESS: -- was the
PO in colon cancer patients wrhout (21 person --
2 heart disease, it’s 16 per 22 MR. GOLDMAN: -- lack of
23 thousand patients, and you can '23 foundation.
4 just do the math about --ifyou 24 THE WITNESS: -- whose 0,
4 Page i521 153
have nullions of people, 16 per 72 signature is attached to the
. thousand having a heart attack, (2 letter that went out to, E don't
4 that's an extraordinary risk for / 3 know how many, apparently tens of
4 the pepulation. 4 thousands of doctors following our
pa MR. GOLDMAN: Move to strike S article.
76 as nonresponsive. - 6 BY MR. KLINE:
17 BY MR. KLINE: 7 Q. Okay.
48 Q. Okay. 8 Did you believe the attacks
Eo Merck took after you, sir? : 9 were ad hominem?
0 MR. GOLDMAN: Object to the -16 MR. GOLDMAN: Object to
Lt form, leading. 1 form, lacks foundation --
12 THE WITNESS: The problems :12 THE WITNESS: [ don't
13 that occurred after August 22nd, 13 believe --
i4 2001 were quite profound in many “14 MR. GOLDMAN: -- opinion
5 l5 respects. So, not only did they 15 testimony.
16 have consultants that they 16 THE WITNESS: -- that they
17 communicated ta the media, like “17 were directed personally. I don't
i8 Dr. Konstam and Dr. FitzGerald, 18 think that Merck wanted to accept
is accusing us of having tortured the 19 that there was a cardiovascular
@ 20 data and manipulated the data, but 20 risk. They alsa said there was no
21 they also sent out an overnight 21 need to do any trial because there
22 mail to every healthcare provider 22 was no cardiovascular risk.
423 in the country that was commented 23 That, to us, “as
a. 4 on -- Dr. Sherwood, he was the 24 unthinkable, but J don't believe
39 (Pages 250 to 153)
408c92ed4dCa-489f-47 d2-234e3a1 o3t6F

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Page 154.

it Was a personal directed --
anyone who wrote the paper would
have probably had the same type of
response, I imagine.
MR. GOLDMAN: Move to strike
as nonresponsive.
BY MR. KLINE:

associated with the highest risk
as an outlier.
MR. GOLDMAN: Same objection
as before.
THE WITNESS: But it
certainly, as we raised in the
JAMA paper, could have easily been

Posi a in vw Gt Al be

ogame whe

OC Priser Roe yorrmserenttte
focus, sir?

A. Without any question, we
stayed on point regarding the need to
press on the clinical science and the
research.

Q. Inareply toa series of
letters written by folks associated with
Merck, did you say, “Since publication of
our meta-analysis" -- was your study a
meta-analysis?

MR. GOLDMAN: Object to

form.

THE WITNESS: Well, it's one

form of meta-analysis. That's a
term that's very loose. Any time
_you're pooling data and looking at

PSone a eaeOSO reeds

Q. Now, there was a label --
MR. GOLDMAN: Objection,
move to strike as nonresponsive,

BY MR. KLINE:

15 Q.  -- on Vioxx at the time;
216 correct?
(17 A. Yes, there was a package
'18 msert, yes, and a label. ~
:19 Q. Right.
20 And the label which word
22
22
:23 cardiovascular risks

1

ire

Frage

lan, witmess
won

1 multiple trials, you can term it a ou you!
2 nieta-analysis. But yes, that was 2 LDMAN: Objection to
3 basically the best we could do : 3 fon testimony.
4 with the data that were available (4 . HAMELENE: Again, if you
5 at that time. . 5 d fo look at the document, let
& BY MR. KLEINE: 6 $s know. If you have memorized
7 Q. You said, “Several basic : 2 it...
8 research studies have supported the 8 BY MR. KLINE:
% potential thrombotic effect of COX-2 9 Q. You know generally the
10 inhibitors,” and you cited various 100 label?
11 studies; correct? “il MR. GOLDMAN: Object to
12 MR. GOLDMAN: Object to the i2 form.
13 form, lacks foundation, opinion “13 THE WITNESS: Yeah, I'm «| q's respms>
14 testimony. 14 familiar with the two different -- a Ore 2f world's
15 THE WITNESS: Yes. 15 the initial and then the April [cack
ié¢é BY MR. KLINE: 16 2002, fm familiar with them. At 2 t os rn
i? Q. And you were speaking there -17 least I couldn't recite it, but a4 Cardiology Ara
18 not only of COX-2s generally, but a 18 I've reviewed them in the past. B lclmiea l reds
i$ thinking of -- were you thinking of Vioxx 19 The initial label, package Z and CV risk,
20 in particular, sir? 620 insert, did not mention any LS ca palele
21 MR. GOLDMAN: Same 21 cardiovascular risk. And only in oF gent Fy |
22 objection. 22 April 2002, which is considerably +p the MashZa
23 THE WITNESS: Vioxx appeared 23 long after the FDA panel requested and SclentiGe
23 in the continuum to be the one 24 that there be a label change. was Age wr
. _ _, oF ay Bata,
dO (paces 154 no 157} iesenlea ya

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@ SEE. objection on previo PAN

T's resporise :

ate plambFe res pIVists

Ort the PreshouS page -

Savid apply, Wwe.
wo

there an insertion about the risk
and some of the data, but it is
certainly not prominently featured
in the new label. It's actually

~)® diob fo No pe

Page 158;

Page 166

MR. KLINE: Let's go off the
record. | don't want to take any
time on this.

THE VIDEOTAPE TECHNICIAN:
Off the record, 11:25.

{A discussion off the record

Wma mA ob wh oP

Im oe Ww hp oo WO UT Ss NY

Pa J pet pant pat fe

MR.

opinion Téstt
BY MR. KLINE;

Q. So, uf your opinion, the
label, as you now understood the data as
it pertained to the '99 label when you
leamed about this in 2001 and as you
understand it today based on the '99 and
2002 labels --

provide adequate warnings and information

relating to the real risk of patients
taking Vioxx?
MR. GOLDMAN: Objection, _

opinion testimony.

MR. HAMELINE: Wait for his
objections.

THE WITNESS: I'm sorry.

MR. KLINE: Yes. For those
who hear the constant stream of
talking, it's Merck's lawyer
objecting the entire deposition.

MR. GOLDMAN: Mr. Khne, I'm
whispering, as the court reporter
can confirm. I'm intentionally
whispering into the microphone so
she can hear me. i'm not trying
to interrupt the deposition at
all. You're asking him for clear
opinion testimony, and that's my
objection.

MR. KLINE: f don't know why
we Can't simply apree that you
have a standing objection to form
and opinion, and I'm willing to do
it.

MR. GOLDMAN: And I told you
before, sir. that’s net --

i

we LN

(oom J) oA uA

9 Me haven't heard the ones that are
MeMcing whispered.

__ objections soi don't have to hear

MR. KLINE: I, again, invite
counsel to make any objection to
form or opinion testimony, which |
believe 90 percent of them are,
and now I can't even hear the
objections because they're just
being whispered, so, I don't have
a chance to correct anything that
might be ta the form because I

I invite thern fo give Mrs.
Golkow at the end of the
deposition all of the bases of the

them. They object to everything
Merck says. It's as clear as it
can be. Or everything that Dr.
Topol says. Let's go back.

MR. GOLDMAN: Mr. Kline, to
be clear, I'm saying the
objections loud enough for you to
hear and if for some reason if you
want me to say them louder, I'm
happy to do that.

MR. KLINE: Yes.

MR. GOLDMAN: But don't say
later on that you did not hear my
objections.

MR. KLINE: What you want to
do -- what you clearly want to do,
and I didn't want to get to this
point today, Andy, but what you
clearly want to do is object to
every single question. I don't
understand how it's not preserved
if I say to you | agree on behalf
of all of the parties taking the
deposition in this case, the

(Pages 158 to 1461}
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Pagé 162)

thousands of people who have sued
Merck in this litigation in the
MDL, that I will agree that for

that purpose you can go back and
fill it in. I'm sure if we call

Judge Fallon, which I don't want

to do, that’s what he would say.

Qa] Ru bw NB

Page

suggestion. Can you just say
objection, period? Do you have to
state the basis each time?

MR. KLINE: Lasked that,
too.

MR. GOLDMAN: You want to me
to say objection period, and then

164

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Boo I+

He ta BK bo

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pe et et

Bo oR) Bo bo fo

w aepes Oo un e Ww AIF

we LJ ND ie

Bob Ch ADF Oo = oo kn

Woe Gad

__do my best to do it ina

its as clear as can be. Youlave
the objection.

MR. STEIN: I make that
agreement for the people in
California, the state cases in
California that I represent. You
can have a standing objection.

MR. GOLDMAN: Are there any
other cross netices in this
deposition?

MR. KLINE: No.

MR. GOLDMAN: Well, with all
due respect, I don't know how the
judge is going to rule on that
later, and I can't just preserve
my objection, Mr. Kline. EF will

Page 163;

non-disruptive way. I've tried to
do that.

] don't want to hear later
that you couldn't hear my
objections, because that's not
true.

MR. KLINE: I couldn't.

MR. GOLDMAN: And if Dr.
Topol just gives me a second ta
make the objection, then we
wouldn't have the problem.

MR. KLINE: But then we're
still going to end up with a
transcript that is this and that.

But you know what, some day we'll
play it, and I'll ask for an
instruction from the judge that

this is what Merck was doing
dunng the deposition because they
didn't want to hear what Dr. Topol
said,

Let's ga.

THE COURT REPORTER: I just

have one quick question or

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TR oN ND bo
Dp uw oP

TAM Whe gO OTH eh Ww be

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O Ww

tater ear ro Tce prc ort
the objection 1s?

MR. KLINE: Yes. Ifit is
to form or opinion, you can go
back in and Linda can fill it in.

MR. GOLDMAN: Fine. Iwill
do that. That is fair.

Just for the record, IT will
object just by saying “objection,”
and after the deposition I will
contact Linda and tell her what
the basis for that objection is.

MR. KLENE: You have to say
any other objection out loud. If
it is form or opinion, which 99
percent of this is, I'm fine. If

it's something else, you've gotto

let me know.
MR. GOLDMAN: Like what?
MR. KLINE: I don't know.
MR. GOLDMAN: What objection
would you like me to make now?
MR. HAMELINE: Foundation ts
the only other objection you've
been making, so, let's keep that
in the three.
MR. KLINE: We'll keep that
in the three. Foundation !5 in
the three.
If there's anything other
than those three, state it.
MR. GOLDMAN: Sounds good.
MR. KLINE: Let's go.
THE VIDEOTAPE TECHNICIAN:
Back on the record at 11:30.
MR. KLINE: Okay.
We're back on the record;
correct?

